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                                EXHIBIT A
      UTDSP5001 – Speech Expression, and Assembly, effective June 20, 2024
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 Speech Expression and Assembly - UTDSP5001
 Policy Statement

 Section A: Governing Principles
 Subsection 1: Freedom of Speech, Expression, and Assembly

1. The freedoms of speech, expression, and assembly are fundamental rights of all persons and
   are central to the mission of the University. Students, faculty, and staff have the right to
   assemble, to speak, and to attempt to attract the attention of others, and corresponding rights
   to hear the speech of others when they choose to listen and to ignore the speech of others
   when they choose not to listen.
2. In furtherance of the University’s educational mission, the University buildings, including their
   outside surfaces, surfaces associated with or connected to a University building, or a University
   structure are limited public forums open only to the expressive activities of faculty, staff, and
   students as set forth in this policy. Members of the public may engage in expressive activities
   at the University in accordance with time, place, and manner rules contained in this policy.
3. Students, faculty, and staff are free to express their views, individually or in organized groups,
   orally or in writing or by other symbols, on any topic, in all parts of the campus, subject only to
   rules necessary to preserve the equal rights of others and the other functions of the University.
   Teaching, research, and other official functions of the University shall have priority in allocating
   the use of space on campus. Members of the public are able to engage in expressive activities
   only in common outdoor areas of the campus, subject to the time, place, and manner rules in
   this policy necessary to preserve the functions of the University.
4. Except as expressly authorized by Section B or as identified in federal or state law, the
   University shall not discriminate on the basis of the political, religious, philosophical,
   ideological, or academic viewpoint expressed by any person, in the enforcement and
   administration of these rules or otherwise.
5. The University of Texas at Dallas Police Department (UTDPD) may immediately enforce these
   rules if a violation of these rules constitutes a breach of the peace or compromises public
   safety.

 Subsection 2: Scope of this Policy and Related Provisions

1. This policy protects and regulates the speech, expression, and assembly of students, faculty,
   staff, and members of the public that are not part of the teaching, research, or other official
   functions of the University, not otherwise sponsored by the University or any academic or
   administrative unit, and not submitted for academic credit. Subsection 7 on Harassment applies


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   to all speech regardless of where it occurs, including off University property, if it potentially
   affects a University person’s education or employment with the University or potentially affects
   the University community.
2. This policy applies to speech by University persons and University organizations in the
   common outdoor areas, the limited public forums, and speech made using the University’s
   information systems. This policy also applies to members of the public in common outdoor
   areas.
3. Any program or event sponsored by an academic or administrative unit of the University will
   have priority in the use of space and facilities over any speech, expression, and assembly that is
   not sponsored by an academic or administrative unit. Reservation process and available space
   for academic or administrative units are different and separate from those outlined in this
   policy. This policy does not limit other existing authority of University officials to authorize
   programs and events sponsored by an academic or administrative unit not provided for in this
   policy.
4. Additional rules concerning free speech and academic freedom of faculty members are found
   in the Regents’ Rules and Regulations (Rule 31004, Number 2, Sections 1 and 2).
5. Underlying rules concerning free speech of students are found in the Regents’ Rules and
   Regulations (Rule 40501, Rule 80103, and Rule 80104). This policy implements those
   provisions and applies them to UT Dallas.
6. Rules requiring University employees to make clear that controversial statements they make
   are in their personal capacity are found in the Regents’ Rules and Regulations (Rule 10101,
   Section 6.2). Rules restricting use of University equipment, supplies, services, and working
   hours for political activities are found in the Regents’ Rules and Regulations (Rule 30103).

 Subsection 3: Definitions

1. "Academic or administrative unit" means any office or department of the University.
2. "Faculty member and staff member" includes any person who is employed by the University.
3. "Off-Campus person or organization" and “member of the public” means any person,
   organization, or business that is not an academic or administrative unit; a registered student,
   faculty, or staff organization; or a student, faculty member or staff member.
4. "University person or organization" includes academic and administrative units; registered
   student, faculty, and staff organizations; and individual students, faculty members, and staff
   members. This phrase describes the most inclusive category of potential speakers on campus;
   all persons and organizations of any kind are either an "off-campus person or organization" or a
   "University person or organization."
5. "Registered student, faculty, or staff organization" includes a registered student organization (as
   defined in the UT Dallas Student Organization Manual, Chapter 2), a faculty or staff
   organization under the Regents’ Rules and Regulations (Rule 40201), and Student Government
   and any unit or subdivision thereof.
6. "Student" means a person who is enrolled at the University.
7. "Amplified sound" means sound with volume that is increased by any electric, electronic,

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    mechanical, or motor-powered means. Shouting, group chanting, and acoustic musical
    instruments are not amplified sound and are not subject to the special rules on amplified sound,
    but are subject to general rules on disruption.
 8. "Dean of Students" means the Dean of Students or any delegate or representative of the Dean
    of Students.
 9. "Room or space" includes any room or space, indoors or outdoors, owned or controlled by the
    University.
10. "University" means The University of Texas at Dallas.
11. "day" means an 8:00 a.m. to 5:00 p.m. calendar day, and excludes weekends, University
    holidays, and days on which regularly scheduled classes are suspended due to emergency
    closure; “University holiday” means days identified in the holiday schedule published by the
    Office of Human Resources. If a deadline defined in this policy falls on a Saturday, Sunday,
    University holiday, or emergency closure, that deadline will be moved to the next business day.
12. "adviser" means a member of the university faculty or full-time staff who advises the members
    of an organization.
13. "Vice President for Student Affairs" means the Vice President for Student Affairs, their
    delegate, or their representative.
14. "University facility" means an auditorium, arena, residence hall, other building, room, public
    area, or any other area on the campus.
15. "University President" means the President of The University of Texas at Dallas, their delegate,
    or their representative.
16. “Limited public forum” means University property, both indoors and outdoors, that is not part
    of the common outdoor area. This includes the outside surfaces of a University building,
    surfaces associated with or connected to a University building, a University structure, spaces
    dedicated to temporary outdoor banners, spaces dedicated to temporary outdoor exhibits,
    residential outdoor spaces managed by University Housing (including the grounds around
    University Village), the Student Union Dining Hall Patio, the Student Union east awning, Dining
    Hall West outdoor area, Davison Gundy Alumni Center green space, and the courtyards of all
    academic buildings.
17. “Common outdoor area” means outdoor space that is not used solely for University business or
    an event, an educational function, or a research function on either a permanent or temporary
    basis. It does not include any space within the University’s limited public forum. Common
    outdoor areas are designated by state law as traditional public forums.
18. "Temporary banner space" means designated outdoor or indoor display area reserved for use
    by University persons and University organizations, as managed by the Dean of Students,
    where a University person or organization's temporary banner may be affixed for multiple days
    as permitted by Subsection 22. These areas are part of the University's limited public forum
    and not open to use by members of the public.
19. “Temporary exhibit space” means designated outdoor or indoor display areas reserved for use
    by University persons and University organizations, as managed by the Dean of Students,
    where a University person or organization may erect a temporary exhibit as permitted by


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    Section G. These areas are part of the University’s limited public forum and not open to use by
    members of the public.
20. “Antisemitism” means a certain perception of Jews that may be expressed as hatred toward
    Jews. The term includes rhetorical and physical acts of antisemitism directed toward Jewish or
    non-Jewish individuals or their property or toward Jewish community institutions and religious
    facilities.


 Section B: Prohibited Expression
 Subsection 4: Obscenity

 No person or organization shall distribute or display on the campus any writing or visual image, or
 engage in any public performance, that is obscene. A writing, image, or performance is "obscene"
 if it is obscene as defined in Texas Penal Code, Subsection 43.21 or successor provisions, and is
 within the constitutional definition of obscenity as set forth in decisions of the United States
 Supreme Court.

 Subsection 5: Defamation

 1. No person shall make, distribute, or display on the campus any statement that unlawfully
    defames any other person.
 2. A statement defames another person if it is: (i) published to a third party other than the subject
    of the statement or their legal representative; (ii) of and concerning that person; (iii) is a false
    statement of fact; (iv) that holds the person up to hatred, ridicule or contempt; (v) is made
    negligently, if the person is a private figure or, if the person is a public official or public figure,
    with knowledge of falsity or reckless disregard of the truth; (vi) which proximately causes
    damages; and (vii) is not privileged.

 Subsection 6: Incitement to Imminent Violations of Law

 No person shall make, distribute, or display on the campus any statements directed to inciting or
 producing imminent violations of law under circumstances such that the statements are likely to
 actually and imminently incite or produce violations of law.

 Subsection 7: Harassment

 1. No person will engage in conduct that constitutes harassment of another person or make,
    distribute, or display on the campus or through University information resources any statement
    that constitutes harassment of any other person. This Section applies to all speech regardless
    of where it occurs, including off University property, if it potentially affects a University
    person’s education or employment with the University or potentially affects the University
    community, all speech made using University resources, including speech that is part of
    teaching, research, or other official functions of the University whether in person or not, and


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   whether oral, written, or symbolic.
2. "Harassment" means hostile or threatening conduct or speech, whether oral, written, or
   symbolic, that:
   1. is not necessary to the expression of any idea described in Subsection 7.3 of this policy;
   2. is sufficiently severe, pervasive, and objectively offensive to create an objectively hostile or
       threatening environment that interferes with or diminishes the victim’s ability to participate
       in or benefit from the services, activities, or privileges provided by the University; and
   3. personally describes or is personally directed to one or more specific individuals.
3. To make an argument for or against the substance of any political, religious, philosophical,
   ideological, or academic idea is not harassment, even if some listeners are offended by the
   argument or idea. The categories of sexually harassing speech set forth in UTDBP3102 of the
   UT Dallas Handbook of Operating Procedures are rarely, if ever, necessary to argue for or
   against the substance of any political, religious, philosophical, ideological, or academic idea.
4. Verbal harassment may consist of threats, insults, epithets, ridicule, personal attacks, or the
   categories of harassing sexual speech set forth in UTDBP3102 and UTDBP3090 of the UT
   Dallas Handbook of Operating Procedures. Verbal harassment is often based on the victim’s
   appearance, personal characteristics, or group membership, including but not limited to race,
   color, religion, national origin, gender, age, disability, citizenship, veteran status, sexual
   orientation, gender identity or gender expression, ideology, political views, or political
   affiliation.
5. Harassment can also consist of nonverbal conduct, such as hazing, practical jokes, damage to
   property, and physical assault. In the case of sexual harassment and sexual misconduct, sexual
   conduct is often central to the offense. These forms of harassment are prohibited by
   UTDSP5003 and UTDBP3102 of the UT Dallas Handbook of Operating Procedures, and by the
   Regents’ Rules and Regulations, Rule 30105. To the extent of any conflict in the definition of
   verbal harassment, the more detailed definition in this section controls.
6. The harassment that this section prohibits does not exhaust the category of speech that is
   unnecessary and inappropriate to vigorous debate in a diverse community of educated people.
   An essential part of higher education is to learn to separate substantive argument from
   personal offense and to express even the deepest disagreements within standards of civility
   that reflect mutual respect, understanding, and sensitivity among the diverse population within
   the University and in the larger society. These are community norms, even though they cannot
   be enforced by disciplinary rules.
7. Verbal harassment has been interpreted very narrowly by the federal courts. Policies on verbal
   harassment or hate speech at many universities have been held unconstitutional, either
   because they prohibited harassment only when it was based on race, sex, and similar
   categories, or because they failed to protect the expression of potentially offensive ideas. This
   policy should be interpreted as narrowly as need be to preserve its constitutionality.
8. Members of the University community are strongly encouraged to report harassment.
   1. A student who believes he or she has been harassed should report the alleged violation to
       the Dean of Students.


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    2. A faculty member or staff member who believes he or she has been harassed should report
       the alleged violation to Human Resources.
    3. Alternatively, any person who believes he or she has been harassed may report the alleged
       violation to the Office of Institutional Compliance, or to any University official, administrator,
       or supervisor. A faculty member is not an “official, administrator, or supervisor” for this
       purpose unless that faculty member holds an administrative position.
    4. Any University official, administrator, or supervisor who receives a report of alleged
       harassment will promptly refer that report and the complaint to the Office of Institutional
       Compliance, Human Resources, or the Dean of Students as appropriate. A complainant
       whose report is not forwarded to the Office of Institutional Compliance, Human Resources
       or to the Dean of Students, has not initiated proceedings for providing a remedy to the
       complainant or for imposing discipline on the alleged harasser.
    5. Investigation of the information provided, and any remedial or disciplinary proceedings, will
       advance under the procedures set out in the harassment policies cross-referenced in this
       section.

 Subsection 8: Solicitation & Commercial Speech

1. General rules.
   1. No University person, University organization, or member of the public shall make,
      distribute, or display on the campus any statement that offers or advertises any product or
      service for sale or lease, or requests any gift or contribution, except as authorized in this
      Subsection, by the Regents’ Rules and Regulations, or by a contract.
   2. Words or symbols on personal apparel, or on decals or bumper stickers affixed to a vehicle
      by an owner of that vehicle, are not solicitation within this definition.
   3. Unadorned acknowledgments or thanks to donors are not solicitations within this definition.
2. Rules Specific to UT Dallas campus constituents:
   1. A registered student, faculty, or staff organization may advertise or sell merchandise,
      publications, food, or nonalcoholic beverages, or request contributions, for the benefit of the
      organization, for the benefit of another registered student, faculty, or staff organization, or
      for the benefit of an organization that is tax-exempt under Subsection 501 (c)(3) of the
      Internal Revenue Code. No organization may sell items obtained on consignment. No
      organization may request contributions for an off-campus tax-exempt organization for more
      than fourteen days in any fiscal year.
   2. Registered student, faculty, and staff organizations, and academic and administrative units,
      may sell, distribute, or display literature that contains advertising, subject to the limits in
      Section D. Individual students, faculty members, and staff members may distribute or display
      such literature, but may not sell it.
   3. Individual students, faculty members, and staff members may post advertisements for
      roommates, subleases, and sales of used goods that the seller has personally owned and
      used, but only on a bulletin board designated for that purpose by an academic or
      administrative unit in space that the unit occupies or controls. Any unit that designates a

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      bulletin board for this purpose may regulate that bulletin board under the procedures set
      forth by that unit.
   4. A resident of a University residence hall or apartment building may occasionally invite one or
      more salespersons to come to the resident's room or apartment, and in that room or
      apartment, the salesperson may offer products or services for sale to other residents of that
      residence hall or apartment building.
   5. As per Regents’ Rules and Regulations (Rule 80103, 2.2.9), registered student, faculty, or
      staff organizations may collect admission fees for programs scheduled in advance.
   6. A registered student, faculty, or staff organization may sell charitable raffle tickets on behalf
      of an organization that is authorized to conduct a charitable raffle under the Texas
      Charitable Raffle Enabling Act, Texas Occupations Code (Policy 2002), or successor
      provisions.
3. A registered student organization that receives funds from membership fees or solicitations
   under this Subsection shall deposit and account for such funds under the rules in the Student
   Organization Manual.
4. More detailed regulation of solicitation appears in Regents’ Rules and Regulations (Rule 80103).
   The provisions most relevant to students, faculty, and staff have been incorporated in this
   policy.

 Subsection 9: Prohibited Items or Actions

 The following restrictions are intended to protect the health and safety of all persons on campus,
 to maintain the free flow of pedestrian traffic in and out of University buildings, and to protect the
 educational mission of the University:

1. A mask, facial covering, or disguise that conceals the identity of the wearer that is calculated to
   obstruct the enforcement of these rules or the law, or to intimidate, hinder or interrupt a
   University official, UTDPD officer, or other person in the lawful performance of their duty.
2. The possession, use, or display of firearms, facsimile firearms, ammunition, explosives, or other
   items that could be used as weapons, including but not limited to sticks, poles, clubs, swords,
   shields, or rigid signs that can be used as a shield, without permission from the Dean of
   Students, unless authorized by federal, State or local laws.
3. Body-armor or makeshift body-armor, helmets and other garments, such as sporting protective
   gear, that alone or in combination could be reasonably construed as worn for participation in
   potentially violent activities.
4. Open flame, unless approved in advance by UT Dallas Life Safety Manager or Dean of
   Students.
5. No person or organization may engage in expressive activity within a ten-foot clearance around
   points of entry and the perimeter of all University buildings.




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 Section C: General Rules on Means of Expression
 Subsection 10: Disruption

1. Except as expressly authorized in Subsection 36 or by an authorized University official
   responsible for a program or event sponsored by an academic or administrative unit, no speech,
   expression, or assembly may be conducted in a way that disrupts or interferes with any:
   1. teaching, research, administration, or other authorized activities on the campus;
   2. free and unimpeded flow of pedestrian and vehicular traffic on the campus; or
   3. signs, tables, exhibits, public assemblies, distribution of literature, guest speakers, or use of
      amplified sound by another person or organization acting under the rules in this policy.
2. Scope.
   1. The term "disruption" and its variants, as used in this subsection, are distinct from and
      broader than the phrase "disruptive activities," as used in the Regents’ Rules and Regulations
      (Rule 40502). This rule is concerned not only with deliberate disruption but also with
      scheduling and coordination of events to manage or minimize the inevitable conflicts
      between legitimate events conducted in close proximity and to preserve the University’s
      ability to execute its functions.
   2. Except in the most extreme cases, interference and disruption are unavoidably contextual.
      Intentional physical interference with other persons is nearly always disruptive in any
      context. Interfering with traffic depends on the relation between the volume of traffic and
      the size of the passageway left open. Disruptive noise is the most contextual of all because
      it depends on the activity disrupted. Any distracting sound may disrupt a memorial service.
      Any sound sufficiently loud or persistent to make concentration difficult may disrupt a class
      or library. Occasional heckling in the speaker's pauses may not disrupt a political speech, but
      persistent heckling that prevents listeners from hearing the speaker does disrupt a political
      speech. These illustrations may be helpful, but none of them includes enough context to be
      taken as a rule. We cannot escape relying on the judgment and fairness of University
      authorities in particular cases. In this context where difficult enforcement judgments are
      unavoidable, it is especially important to remind administrators and law enforcement officials
      that their judgments should not be influenced by the viewpoint of those claiming disruption
      or of those allegedly disrupting.
3. Potentially disruptive events can often proceed without disruption if participants,
   administrators, and law enforcement officials cooperate to avoid disruption without stopping
   the event. In cases of marginal or unintentional disruption, administrators and law enforcement
   officials should clearly state what they consider disruptive and seek voluntary compliance
   before stopping the event or resorting to disciplinary charges or arrest.

 Subsection 11: Damage to Property

1. No speech, expression, or assembly may be conducted in a way that damages or defaces
   property of the University or of any person who has not authorized the speaker to damage or

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   deface their property.
2. No person may damage, deface, or interfere with any sign, table or exhibit posted or displayed
   by another person or organization acting under the rules in this policy.

 Subsection 12: Coercing Attention

1. No person may attempt to coerce, intimidate, or badger any other person into viewing,
   listening to, or accepting a copy of any communication.
2. No person may persist in requesting or demanding the attention of any other person after that
   other person has attempted to walk away or has clearly refused to attend to the speaker's
   communication.

 Subsection 13: Other Rules with Incidental Effects on Speech

1. Other generally applicable or narrowly localized rules, written and unwritten, incidentally limit
   the time, place, and manner of speech, but are too numerous to compile or cross-reference
   here. For example, libraries typically have highly restrictive rules concerning noise; laboratories
   and rooms containing the electrical and mechanical infrastructure of the University typically
   have safety rules and rules excluding persons without specific business there; fire and safety
   codes prohibit the obstruction of exits and limit the constriction of hallways. Speech within
   classrooms is generally confined to the subject matter of the class; the right to attend a class at
   all is subject to registration and payment of tuition; individual professors may have rules of
   decorum in their classroom. These kinds of rules limit the right of students, faculty, and staff to
   enter and speak in the places to which these rules apply.
2. Reasonable and nondiscriminatory rules of this kind generally control over the rights of free
   speech guaranteed in this policy. But even these kinds of rules are subject to the constitutional
   right of free speech. Such rules must be viewpoint neutral. Such rules cannot regulate speech
   more restrictively than they regulate other activities that cause the problems to be avoided by
   the rule. Such rules should not restrict speech more than is reasonably necessary to serve their
   purpose. Such rules cannot ban unobtrusive forms of communication with no potential for
   disruption even in the specialized environment subject to the localized rule. Thus, for example,
   means of silent expression or protest confined to the speaker's immediate person, such as
   armbands, buttons, and t-shirts, are nearly always protected because they are rarely disruptive
   in any environment.
3. University persons, University organizations, and members of the public are responsible for
   maintaining a passageway for pedestrians that is adequate to the volume of pedestrian traffic
   passing through the area. Should the size of the assembly exceed the maximum number of
   participants that is safe for a given location, participants will be directed by campus authorities
   to relocate to a space that is better suited to the size of the assembly.


 Section D: Distribution of Literature
 Subsection 14: General Rule on Distribution of Literature

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1. Registered student, faculty, and staff organizations, and academic and administrative units, may
   sell, distribute, or display literature on campus subject to the rules in this policy. Individual
   students, faculty members, and staff members may distribute or display literature but may not
   sell it. In either case, no advance permission is required. Members of the public may distribute
   literature in the common outdoor areas, subject to the rules in this policy, but may not sell
   literature.
2. "Literature" means any printed material, including any newspaper, magazine, or other
   publication, and any leaflet, flyer, or other informational matter, that is produced in multiple
   copies for distribution to potential readers.

 Subsection 15: Not-for-profit Literature Only

1. Except as expressly authorized by the Regents’ Rules and Regulations or by contract with the
   University, no person or organization may sell, distribute, or display on campus any publication
   operated for profit. A registered student, faculty, or staff organization may sell publications
   operated for profit as part of a fundraiser authorized by, and subject to the limits of Subsection
   8.
2. A publication is operated for profit if any part of the net earnings of the publication, or if its
   distribution, inures to the benefit of any private shareholder or individual.

 Subsection 16: Limits on Advertising

1. Literature distributed on campus may contain the following advertising:
   1. advertising for a registered student, faculty, or staff organization, or an academic or
      administrative unit;
   2. advertising for an organization that is tax-exempt under Subsection 501 (c)(3) of the Internal
      Revenue Code;
   3. paid advertising in a publication primarily devoted to promoting the views of a not-for-profit
      organization or to other bona fide editorial content distinct from the paid advertising; and
   4. other advertising expressly authorized by the Regents’ Rules and Regulations by contract
      with the University.
2. All other advertising in literature distributed on campus is prohibited.

 Subsection 17: Cleanup of Abandoned Literature

 Any person or organization distributing literature on campus shall pick up all copies dropped on
 the ground in the area where the literature was distributed.


 Section E: Signs and Banners
 Subsection 18: General Rules on Signs

1. "Sign" means any method of displaying a visual message to others, except that transferring
   possession of a copy of the message is distribution of literature and not a sign.

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2. Subject to the rules in this section and to the general rules in Sections B and C, a University
   person or organization may display a sign by holding or carrying it, by displaying it at a table
   (see Section F), or by posting it on a bulletin board or other designated location. Signs may not
   be staked to the ground or posted in any other location except those areas allowed by long-
   standing tradition or otherwise permitted by this policy.

 Subsection 19: Hand-held Signs

1. Students, faculty, and staff may display a sign on campus by holding or carrying it by hand or
   otherwise attaching it to their person. Members of the public may display a sign in the common
   outdoor areas by holding or carrying it by hand or otherwise attaching it to their person. No
   advance permission is required. Signs on sticks or poles or otherwise attached to any device are
   prohibited.
2. Hand-held signs constructed of materials that create a hazard to other people are not
   permitted. Signs constructed of rigid materials, including sticks, poles, wood, metal, hard plastic,
   or other materials that could be construed as a hazard are not permitted.
3. Any person holding or carrying a sign shall exercise due care to avoid bumping, hitting, or
   injuring any other person.
4. Any person holding or carrying a sign at a speech, performance, or other event shall exercise
   due care to avoid blocking the view of any other person observing the speech, performance, or
   event. Depending on the venue, this may mean that signs may be displayed only around the
   perimeter of a room or an audience.
5. A law enforcement officer, the Dean of Students, or an usher or any other university employee
   if authorized by officials responsible for managing the venue, may warn any person that their
   sign is being handled in violation of this section. If the violation persists after a clear warning,
   the law enforcement officer, dean, authorized usher, or other authorized employee may
   confiscate the sign or take other appropriate steps to respond to the violation. A law
   enforcement officer may take any action necessary to keep the peace including but not limited
   to issuing a criminal trespass warning to the violator.

 Subsection 20: Signs in Other Designated Locations (including on bulletin boards)

1. Each academic or administrative unit may authorize the posting of signs in spaces that a unit
   occupies and controls. Such authorization may be granted by general rule, by stamping or
   initialing individual signs, or by long-standing tradition.
2. Signs in spaces occupied by academic or administrative units may be:
   1. confined to bulletin boards or other designated locations;
   2. subjected to viewpoint-neutral rules limiting the size of signs, limiting how long they may be
       posted, requiring each sign to show the date it was posted and the name of the person or
       organization who posted it, and similar rules designed to facilitate fair and equal
       opportunities to post signs;
   3. confined to official statements or business of the unit, or to certain subject matters of



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      interest within the unit, or to signs posted by persons or organizations affiliated with the
      unit.
3. Each academic or administrative unit will post on or near each bulletin board or other
   designated location that it administers:
   1. either the rules applicable to that bulletin board or location or a particular office or website
      where the rules applicable to that bulletin board or location may be found; and
   2. if a stamp or initials are required on signs before they are posted on that bulletin board or
      location, the name and office location of the person whose stamp or initials are required.
   3. This notice will be posted in the upper left corner of each bulletin board or other designated
      location for posting signs, or conspicuously in another nearby location. If no such notice is
      posted, then the only applicable rules are those contained in Section B and Subsections 10,
      11, and 14.
4. Within the scope of the subject matters permitted on a particular bulletin board or other
   designated location, no academic or administrative unit will discriminate on the basis of the
   political, religious, philosophical, ideological, or academic viewpoint expressed on a sign.
5. This Section does not apply to any enclosed bulletin board or display case that is accessible
   only to authorized personnel for official University business.

 Subsection 21: Banners

 "Banner" means an affixed, stationary sign hung from a structure or building, or between two
 buildings, structures, or poles. Banners on poles may not be carried by individuals.

1. Hand-held banners. University persons, University organizations, and members of the public
   are permitted to display a hand-held banner carried by two or more individuals without poles,
   in accordance with Subsection 20, in the common outdoor areas.
2. Temporary banner space designations.
   1. The Dean of Students shall designate places where banners may be hung in indoor and
      outdoor locations not occupied or controlled by any other academic or administrative unit.
      Temporary banner spaces are not open to the public.
   2. Other academic and administrative units may designate one or more temporary banner
      spaces where banners may be hung in indoor or outdoor locations that the unit occupies or
      controls. These temporary banner spaces are not open to members of the public.
3. Academic and administrative units and registered student, faculty, and staff organizations may
   hang banners in locations designated under Subsection 22, 2(2). Individuals and members of
   the public may not hang banners.
4. Advance permission is required for the hanging of banners. Each banner may be hung for one
   week. The banner may be renewed from week to week if space is available, but usually, other
   organizations are waiting their turn and renewal is not possible.
5. The Dean of Students may require that the physical work of hanging the banners be performed
   only by employees of Facilities Management or other appropriate University personnel. Actual
   costs will be charged to the organization or unit making the request.


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 Section F: Tables
 Subsection 22: General Rule on Tables

 University persons and University organizations may set up tables from which to display literature,
 disseminate information and opinions, and raise funds, subject to the rules in this section and to
 the general rules in Sections B and C. No advance permission is required. Members of the public
 may also set up tables in common outdoor areas.

 Subsection 23: Locations

1. Subject to the restrictions in this section and subject to the rules on disruption of other
   functions and interference with vehicular and pedestrian traffic, University persons and
   University organizations may set up tables in any outdoor location on the campus and in any
   large, open, indoor location.
2. Additional Restrictions.
   1. Tables may not be set up inside any library, classroom, laboratory, performance hall, stadium,
       or office, or in any hallway less than ten feet wide, without permission from the academic or
       administrative unit that controls the space, or from the faculty member or staff member who
       controls the space at a particular time.
   2. An academic or administrative unit may further specify these rules by restricting tables to
       reasonable locations in spaces occupied by that unit. Academic and administrative units are
       encouraged to clearly state any such rules in writing and to publish those rules on a website
       or on a flyer or pamphlet available at the chief administrative office of the unit.
3. If any table is set up in a prohibited or disruptive location, any University employee pointing
   out the violation shall also point out other locations, as nearby as is reasonably possible, where
   the table is permitted.

 Subsection 24: Identification

 Each table must have a sign or literature that identifies the University person or University
 organization sponsoring the table.

 Subsection 25: Clean-up Around Tables

 Any person or organization sponsoring a table shall remove litter from the area around the table
 before vacating the space.

 Subsection 26: Sources of Tables

 University persons and University organizations may supply their own tables. In addition, the
 Dean of Students maintains a supply of tables for registered student organizations that may be
 reserved and checked out for use in the Student Union Building and on-campus in designated


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 areas.


 Section G: General Exhibits and A-frame Exhibits
 Subsection 27: General Rules on Exhibits

1. "General Exhibit" means an object or collection of related objects, designed to stand on the
   ground or on a raised surface, that is not a table, and that is designed for temporary display not
   permanently attached to the ground.
2. “A-Frame Exhibit” means a movable and self-supported signboard designed to stand on the
   ground in a temporary outdoor exhibit space. A-frame exhibits may not exceed five feet in
   height or width. Structures that do not meet these criteria will be considered general exhibits
   and will be subject to the rules in Subsection 31.1.
3. Academic or administrative units and registered student organizations, faculty organizations or
   staff organizations may erect exhibits, subject to the rules in this section and to the general
   rules in Sections B and C. Advance permission is required from the Dean of Students, except
   that an academic unit may authorize indoor exhibits in a space that it occupies and controls.
   Members of the public may not erect exhibits.
4. The Dean of Students will maintain on a website, a current description of the rules and
   procedures for displaying a temporary outdoor exhibit space for A-frame exhibits on campus.

 Subsection 28: Application Process

 An academic or administrative unit or a registered student, sponsored student, faculty, or staff
 organization desiring to display an outdoor general exhibit will apply on a form prescribed by the
 Dean of Students. An academic or administrative unit or a registered student, sponsored student,
 faculty, or staff organization desiring to display an outdoor A-frame exhibit must follow guidelines
 outlined on the Dean of Students ‘General Exhibits and A-frame Exhibits’ website.

 Subsection 29: Criteria for Approval

1. General exhibits.
   1. The Dean of Students will designate temporary outdoor exhibit spaces where general
      exhibits may be placed. The Dean of Students will authorize a general exhibit described in a
      completed application under Subsection 29 unless the Dean of Students finds that use of
      the proposed temporary outdoor exhibit space for the proposed exhibit must be
      disapproved under the criteria in UTDSP5002. The Dean of Students will advise the
      applicant on how to correct, if possible, any conditions that preclude approval of the
      application.
   2. The Dean of Students will consider the totality of the circumstances, including safety
      concerns, as part of the approval process.
2. A-frame exhibits.


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    1. The Dean of Students will designate temporary outdoor exhibit spaces where A-frame
       exhibits may be placed. If an academic or administrative unit or a registered student, faculty,
       or staff organization wishes to place an A-frame exhibit in a different location, then the
       structure will be considered a general exhibit under this Subsection. The Dean of Students
       may limit the number of A-frame exhibits that are placed in designated areas to minimize
       visual obstructions of the A-frames.

 Subsection 30: Time Limits

1. General exhibits.
   1. In locations administered by the Dean of Students, each exhibit may be displayed for seven
      days. The exhibit may be renewed for an additional seven days if space is available.
   2. The exhibit may be displayed no earlier than 8:00 a.m. and must be removed by 10:00 p.m.
      each day and may be re-erected each morning. However, the Dean of Students may
      authorize overnight exhibits in designated locations on a case-by-case basis.
2. A-frame exhibits.
   1. Each A-frame exhibit may be placed for seven days and remain overnight. The A-frame
      exhibit may be renewed for an additional seven days if space is available.
   2. If the A-frame is left on campus for longer than the reservation, the A-frame may be
      removed by the Department of Facilities Management, at the expense of the academic or
      administrative unit or registered student, faculty, or staff organization.

 Subsection 31: Clean-up Around and Upkeep of Exhibits

 Any person or organization sponsoring an exhibit shall remove litter from the area around the
 exhibit before vacating the space. A-frame exhibits are expected to be maintained in a manner
 that they are in working order and with material that is not out of date.

 Subsection 32: Liability

 Any person or organization sponsoring an exhibit assumes full responsibility for the exhibit,
 including all injuries or hazards that may arise from the exhibit. The University shall not be liable
 for any damage that may occur to the exhibit, and any person or organization sponsoring the
 exhibit shall indemnify the University for any claims arising from the exhibit's presence on campus.


 Section H: Amplified Sound
 Subsection 33: General Rules on Amplified Sound

 University persons, University organizations, and members of the public may use amplified sound
 on campus at designated times and locations, subject to the rules in this section and to the
 general rules in Sections B and C. This section creates limited exceptions to the general rule on
 disruption in Section C.


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 Subsection 34: Location and Times of Amplified Sound Areas

1. Student Union Mall
   1. The Margaret McDermott Student Union Mall Amplified Sound Area is bounded by the
      Student Union Building on the west side and extends to the stone wall between the Student
      Union and the McDermott Library on the east side. The north boundary is marked by the
      north end of the mall pavers and the south boundary is the end of the pavement on the
      south side of the outdoor Chess Plaza.
   2. With appropriate approval, University persons, University organizations, and members of
      the public may use amplified sound in this area from 8:00 a.m. to 5:00 p.m. Monday through
      Friday, and 8:00 a.m. to 5 p.m. on Saturdays and Sundays.
   3. All academic and administrative units, as well as, registered and sponsored student
      organizations, and faculty and staff organizations may use sound equipment owned or
      controlled by the dean of students’ office for this sound area.
   4. Members of the public must use their own sound equipment. This sound area requires a
      reduced decibel level as compared to other sound areas to ensure educational activity in
      close proximity is not disturbed.
2. The PUB Patio
   1. The PUB Patio Amplified Sound Area is bounded by the railed fence on the north end of the
      Patio and to the east, west, and south by the existing surrounding walls of the Union
      building.
   2. With appropriate approval, University persons, University organizations, and members of
      the public may use amplified sound in this area from 8:00 a.m. to 5:00 p.m. Monday through
      Friday, and 8:00 a.m. to 5 p.m. on Saturdays and Sundays.
   3. All academic and administrative units, as well as, registered and sponsored student
      organizations, and faculty and staff organizations may use sound equipment owned or
      controlled by the dean of students’ office for this sound area.
   4. Members of the public must use their own sound equipment. This sound area requires a
      reduced decibel level as compared to other sound areas to ensure educational activity in
      close proximity is not disturbed.
3. Student Union Green Space
   1. The Student Union Green Space is bounded by the edges of the grass on the north, south,
      east, and west sides.
   2. With appropriate approval, University persons, University organizations, and members of
      the public may use amplified sound in this area from 8:00 a.m. to 5:00 p.m. Monday through
      Friday, and 8:00 a.m. to 5 p.m. on Saturdays and Sundays.
   3. All academic and administrative units, as well as, registered and sponsored student
      organizations, and faculty and staff organizations may use sound equipment owned or
      controlled by the dean of students’ office for this sound area.
   4. Members of the public must use their own sound equipment. This sound area requires a
      reduced decibel level as compared to other sound areas to ensure educational activity in


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       close proximity is not disturbed.
4. With advance permission from the director of the Student Union, University persons and
   University organizations may be authorized to use amplified sound in the amplified sound areas
   after 5:00 p.m. weekdays and Saturdays and Sundays, not to exceed 1:00 a.m. the next day.
   The Student Union Director will decide what a reasonable start/end time should be, based on
   information relating to other campus events and classroom activities occurring on the day of
   the request. University groups using Student Union amplified sound equipment will yield
   equipment when the facility closes.
5. The Vice President for Student Affairs may designate additional areas for use of amplified
   sound.
6. If the director of the Student Union concludes that it is unworkable to use amplified sound in
   more than one of the amplified sound areas at the same time, the director may deny requests
   to use amplified sound.

 Subsection 35: Regulation and Scheduling of Amplified Sound

1. The director of the Student Union may prescribe rules concerning scheduling, sound levels, the
   location of speakers and direction in which they are pointed, and other rules to facilitate the
   use of amplified sound areas, to mediate any conflict with University functions and other
   nearby activities, and to manage environmental impact. All such rules shall be reasonable and
   nondiscriminatory.
2. Reservations.
   1. University persons, University organizations, and members of the public wishing to use an
      amplified sound area may reserve a particular area at a particular time. Reservations by
      University persons and University organizations must be made with the director of the
      Student Union through the online request form located on the Student Union website.
      Members of the public may make a reservation by emailing reservations@utdallas.edu. If
      space is available, the director of the Student Union shall approve a properly completed
      request, unless the application must be disapproved under the criteria in UTDSP5002 or
      under rules promulgated by the director under the authority of this section.
   2. The director of the Student Union shall advise each applicant on how to correct, if possible,
      any conditions that preclude approval of its application. The director of the Student Union
      may give advice to applicants of approved applications about other possible locations for an
      event, or about modifications to the proposed event, that would avoid potential problems or
      make the proposed event more workable.
   3. The director of the Student Union may limit the number or frequency of reservations for
      each applicant to ensure reasonable access for all persons and organizations desiring to use
      amplified sound.
3. When amplified sound areas are not reserved for use for an assembly including amplified
   sound, they are available for use, for permitted expressive activity, without reservation as part
   of the common outdoor areas. Any person or organization using or occupying the space
   without a reservation must yield control of the space in time to permit any user with a

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   reservation to begin using the space promptly at the beginning of its reserved time. Equipment
   will not be provided to University persons and University organizations who do not have a prior
   reservation. With or without a reservation, members of the public must use their own
   equipment and comply with decibel level requirements.
4. Persons and organizations using amplified sound are responsible for maintaining a passageway
   for pedestrians that is adequate to the volume of pedestrian traffic passing through the area.
5. Any designations of additional areas, any additional rules regulating the designated areas, and
   the rules and procedures for reserving the right to use a designated area, shall be clearly stated
   on a website maintained by the director of the Student Union.

 Subsection 36: Amplified Sound Indoors

 University persons and University organizations may use amplified sound indoors. Amplified
 sound sufficient to be heard throughout the room may be used in any room in any building, but
 the director of the Student Union may limit or prohibit sound that would be disruptive outside the
 room. Reservations may be required. Rules concerning use of University buildings are contained in
 UTDSP5002.


 Section I: Public Assemblies
 Subsection 37: General Rules on Public Assemblies

1. "Publicly assemble" and "public assembly" include any gatherings of persons, including
   discussions, rallies, and demonstrations. The rules of Section H apply to any use of amplified
   sound at a public assembly.
2. Persons and organizations may publicly assemble on campus in any place where, at the time of
   the assembly, the persons assembling are permitted to be. This right to assemble is subject to
   the rules in this policy, and to the rules on use of University property in UTDSP5002. No
   advance permission is required in the common outdoor areas.

 Subsection 38: Reservation of Space

1. Common outdoor areas reservations.
   1. University persons, University organizations, and members of the public may reserve a space
      to assemble in the common outdoor areas, as defined by this policy. This is in addition to the
      amplified sound areas which are also available for reservation.
   2. Reservations by University persons and University organizations must be made with the
      director of the Student Union through the online request form on the Student Union
      website. Members of the public may reserve space by making a request to
      reservations@utdallas.edu. Applications and requests for a reservation for such assemblies
      will be approved pursuant to UTDSP5002.
   3. If the expected attendance at an assembly is twenty-five or more people, advance notice of
      no less than three days is recommended. Persons and organizations are encouraged to seek

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       reservation of a space that is suited to their assembly’s anticipated size.
2. Limited public forum areas reservations.
   1. Registered student, faculty, or staff organizations and academic or administrative units may
       reserve a space to assemble in the limited public forum areas, as defined by this policy.
   2. The director of the Student Union or other campus units, depending on the space, will
       receive applications for reservations of a space within the limited public forum areas.
       Applications for a reservation for such assemblies will be processed under the provisions in
       UTDSP5002.
   3. If the expected attendance at an event with a guest speaker is twenty-five or more people,
       advance notice of no less than three days is required.
3. An organization with a reservation has the right to the reserved room or space for the time
   covered by the reservation. Any person or organization using or occupying the room or space
   without a reservation must yield control of the room or space in time to permit any
   organization with a reservation to begin using the room or space promptly at the beginning of
   its reserved time.
4. While reservations are not required, they are strongly encouraged. A person or organization
   planning to use a room or space without a reservation may find the facility locked or in use by
   another person or organization.
5. Should the size of any assembly exceed the maximum number of participants that is safe for a
   given location, including a reserved space, assembly participants will be directed by campus
   authorities to relocate to a space that is better suited to the size of the assembly to the extent
   relocation is practicable.

 Subsection 39: Notice and Consultation

1. Persons or organizations may publicly assemble on campus in any place where, at the time of
   the assembly, the persons assembling are permitted to be.
2. Persons or organizations that are planning a public assembly in a common outdoor area, with or
   without a guest speaker, and with more than fifty expected participants, including potential
   counter-demonstrators, are strongly encouraged to provide advanced notice of no less than
   one week to the director of the Student Union to help the University improve the safety and
   success of the expressive activity. Members of the public may provide this notice by emailing
   reservations@utdallas.edu. If there is uncertainty about applicable University rules, the
   appropriateness of the planned location, or possible conflict with other events, persons and
   organizations are encouraged to consult the Dean of Students and director of the Student
   Union. Should the size of the assembly exceed the maximum number of participants that is safe
   for a given location, participants will be directed by campus authorities to relocate to a space
   that is better suited to the size of the assembly to the extent relocation is practicable.
3. University organizations planning an event in the limited public forum areas with or without a
   guest speaker and expected attendance of more than twenty-five participants are required to
   provide advanced notice of no less than three days to the Dean of Students, per the regulations
   outlined in the Student Organization Manual, to improve the safety and success of the

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   expressive activity. University persons and University organizations are encouraged to consult
   with the Dean of Students and director of the Student Union if there is uncertainty about
   applicable University rules, the appropriateness of the planned location, or possible conflict
   with other events. The dean has much experience in helping student organizations structure
   events in ways that both comply with the University's rules and achieve the organization's goals
   for the event. The dean can help identify appropriate space and potentially conflicting events.
   The dean can help the planners avoid unintended disruption or other violations that may result
   in subsequent discipline or subsequent interference with the assembly by campus authorities.
4. The notice and consultation requirements of this section do not apply to academic or
   administrative units.
5. University organizations notice and consultation requirements of this section may be waived by
   the Dean of Students.
6. Registered student, faculty, and staff organizations are afforded privileges not available to
   individual faculty, staff, and students. Individuals may not reserve indoor space on campus.


 Section J: Guest Speakers
 Subsection 40: Definitions

 "Guest speaker" means a speaker or performer who is not a student, faculty member, or staff
 member.

 Subsection 41: Who May Present

1. Subject to the rules in this policy, University persons, University organizations, and members of
   the public may present guest speakers in common outdoor areas.
2. Registered student, faculty, and staff organizations and academic and administrative units may
   present guest speakers in the limited public forums of the campus. In the case of registered
   student organizations and sponsored student organizations, advance permission from the Dean
   of Students, as outlined in the Student Organization Handbook is required. Registered faculty
   organizations are required to seek advance permission from the Vice President for Academic
   Affairs and Provost. Registered staff organizations are required to seek advance permission
   from the Vice President and Chief of Staff. Individuals may not present a guest speaker in
   University buildings or University facilities.

 Subsection 42: Location and Form of Presentation

1. Subject to the rules in this policy, including the applicable time, place, and manner rules,
   University persons, University organizations, and members of the public may utilize the
   common outdoor areas for guest speaker assemblies. No reservation or prior approval is
   necessary, but notice and reservations are encouraged.
2. A guest speaker may present a speech or performance, or lead a discussion, at a time
   announced in advance, in a limited public forum following guidelines and reservation

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   requirements set forth in this policy.
   1. A guest speaker may distribute literature indoors only immediately before, during, or after
      the normal course of their speech, performance, or discussion to persons in attendance.
      Only literature that complies with Section D of this policy may be distributed.
3. A guest speaker may not:
   1. accost potential listeners who have not chosen to attend the speech, performance, or
      discussion; or
   2. distribute literature to persons who have not chosen to attend the speech, performance, or
      discussion; or
   3. help staff a table or exhibit unless it is set up in a common outdoor area.

 Subsection 43 Application

1. A registered student organization that has received approval of the dean to host a guest
   speaker in a limited public forum area must complete the reservation of space form on the
   Student Union website.
2. The dean shall approve an application properly made under Section I of this policy unless it
   must be disapproved under the criteria in UTDSP5002.

 Subsection 44: Obligations of Presenting Organization

 A student, faculty or staff organization that presents a guest speaker must make clear that:

1. the organization, and not the University, invited the speaker; and
2. the views expressed by the speaker are their own and do not necessarily represent the views of
   the University, the University of Texas System, or any component institution.


 Section K: Responding to Speech, Expression, and Assembly
 Subsection 46: General Rule on Responding

 Persons and organizations may respond to the speech, expression, or assembly of others, subject
 to all the rules in this policy.

 Subsection 47: Applications

1. Responders may not damage or deface signs or exhibits, disrupt public assemblies, block the
   view of participants, or prevent speakers from being heard.
2. Means of response that are permitted in many locations and without advance permission or
   reservation, such as signs, distribution of literature, and public assembly without amplified
   sound, may be used immediately and in any location authorized in this policy.
3. Means of response that require advance permission or reservation, such as banners, general
   exhibits, A-frame exhibits, and amplified sound, may be used as soon as the needed permission
   or reservation may be arranged. Banner space and some amplified sound areas may be


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   unavailable on short notice because of earlier reservations, but the Dean of Students shall
   expedite approval of general exhibits, A-frame exhibits, available banner space, and amplified
   sound areas where necessary to permit appropriate response to other speech, assembly, or
   expression.
4. Means of response that are confined to authorized locations, such as banners, exhibits, and
   amplified sound, may be used only in those locations. It is not possible to respond to amplified
   sound with amplified sound in the same location; similarly, if an exhibit or public assembly is in
   a location where amplified sound is not permitted, it is not possible to respond with amplified
   sound in that location. In either case, it is possible to respond with amplified sound in another
   location and to use signs or distribution of literature to advertise the response at the other
   location.


 Section L: Enforcement and Appeals
 Subsection 48: Police Protection

1. It is the responsibility of the University to make its best effort to protect the safety of all
   persons on campus and to provide police protection for speakers, public assemblies, persons
   staffing or viewing exhibits, and other events. The normal patrolling of officers in regular duty
   areas that fall in the area of such events will be at the cost of the University. When the
   magnitude, timing, or nature of an event in a University building, University facility, or other
   areas of the University’s limited public forum requires overtime hours from police officers
   (including contract hours for officers hired from other departments or private security
   agencies), the University will, to the extent specified in paragraphs 2 and 3 below, charge the
   cost of overtime or contract officers to the person or organization sponsoring the event or
   exhibit. The purpose is to charge for police overtime when reasonably necessary, but not to
   charge for police overtime made necessary by the content of speech at the event or by the
   controversy associated with any event.
2. A reasonable and nondiscriminatory fee for overtime police work will be charged to the
   registered student, faculty, or staff organization for events in a University building, University
   facility, or other areas of the University’s limited public forum for events that require overtime
   police protection, and
   1. charge a price for admission, or
   2. have a paid speaker, band, or other off-campus person or organization for services at the
       event.
3. The University shall have the sole power to decide, after reasonable consultation with the
   person or organization planning the event, whether and to what extent overtime police
   protection is required. No additional fee shall be charged for officers assigned because of
   political, religious, philosophical, ideological, or academic controversy anticipated or actually
   experienced at the event. All fees shall be based on the number of officers required for an
   uncontroversial event of the same size and kind, in the same place and at the same time of day,


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   handling the same amount of cash.
4. Nothing in this Subsection applies to any interdepartmental charge or transfer among units or
   accounts funded by the University.

 Subsection 49: Response to Violations

1. Students wishing to make a grievance regarding a violation of Texas Education Code § 51.9315
   may report it via the University Compliance and Ethics hotline by calling 1-888-228-7707.
2. A student or registered/sponsored student organization who violates a prohibition in this
   policy may be disciplined under the procedures in UTDSP5003.
3. A faculty member who violates a prohibition in this policy may be disciplined under applicable
   procedures provided by other rules. If no such procedures exist, violations by faculty members
   shall be referred to the Office of the Vice President for Academic Affairs and Provost.
4. A staff member who violates a prohibition in this policy may be disciplined under applicable
   procedures provided by other rules. If no such procedures exist, violations by staff members
   shall be referred to the staff member's supervisor.
5. Authorized University personnel may prevent imminently threatened violations, or end ongoing
   violations, of a prohibition in this policy, by explanation and by persuasion, by reasonable
   physical intervention, by arrest of violators, or by any other lawful measures. Alternatively, or
   additionally, they may initiate disciplinary proceedings under paragraphs 2, 3, or 4 of this
   subsection. Discretion regarding the means and necessity of enforcement shall be vested in the
   Chief of Police, or in University personnel designated by the President, as appropriate, but such
   discretion shall be exercised without regard to the viewpoint of any speaker.
6. A University person or University organization on the campus shall comply with instructions
   from University administrators and law enforcement officials at the scene. A University person
   or University organization that complies with an on-the-scene order limiting speech,
   expression, or assembly may test the propriety of that order in an appeal under Subsection 50.
7. Off-campus person(s) or organization(s) on the campus who violate a prohibition in this policy
   may be subject to criminal trespass charges, arrest, or other lawful measures.
8. Any incitement of violence, incitement of imminent violation of law, harassment, property
   damage, disruption of a university activity, or any other violation of state or federal law or
   university policy that was committed because of antisemitism or the offender’s bias or
   prejudice against a group identified by race, color, disability, religion, national origin or ancestry,
   age, gender, or sexual preference will be subject to discipline, up to and including possible
   termination/expulsion.
9. Any registered student group that engages in incitement of violence, incitement of imminent
   violation of law, harassment, property damage, disruption of a university activity, or any other
   violation of state or federal law or university policy because of antisemitism or bias or prejudice
   against a group identified by race, color, disability, religion, national origin or ancestry, age,
   gender, or sexual preference, is subject to discipline, up to and including possible loss of
   recognized status for the registered student group.



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 Subsection 50: Appeals

1. A University person or University organization that is denied permission for an activity
   requiring advance permission under this policy may appeal the denial of permission.
2. A University person or University organization that complies with an on-the-scene order
   limiting speech, expression, or assembly may, on or before the fifth weekday after complying
   with the order, file an appeal to determine the propriety of the order limiting the speech,
   expression, or assembly. The question on appeal shall be whether, under the circumstances as
   they reasonably appeared at the time of the order, the appellant's speech, expression, or
   assembly should have been permitted to continue. Such an appeal may be useful to clarify the
   meaning of a rule, or to resolve a factual dispute that may recur if the appellant desires to
   resume the speech, expression, or assembly that was limited by the order.
3. An appeal authorized by this Subsection shall be heard under the procedures set out in
   UTDSP5002.


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 Policy Links
 • Permalink for this policy: https://policy.utdallas.edu/utdsp5001
 • Link to PDF version: https://policy.utdallas.edu/utdsp5001/makepdf
 • Link to printable version: https://policy.utdallas.edu/utdsp5001/makeprint




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                                  EXHIBIT B
 UTDSP5001 – Speech Expression, and Assembly, in effect May 1 through June 19, 2024
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Section A: Governing Principles

Subsection 1: Freedom of Speech, Expression, and Assembly

   1. The freedoms of speech, expression, and assembly are fundamental rights of all
      persons and are central to the mission of the University. Students, faculty, and
      staff have the right to assemble, to speak, and to attempt to attract the attention
      of others, and corresponding rights to hear the speech of others when they
      choose to listen and to ignore the speech of others when they choose not to
      listen.
   2. In furtherance of the University’s educational mission, the University
      buildings, including their outside surfaces, surfaces associated with or
      connected to a University building, or a University structure are limited public
      forums open only to the expressive activities of faculty, staff, and students as
      set forth in this policy. Members of the public may engage in expressive
      activities at the University in accordance with time, place, and manner rules
      contained in this policy.
   3. Students, faculty, and staff are free to express their views, individually or in
      organized groups, orally or in writing or by other symbols, on any topic, in all
      parts of the campus, subject only to rules necessary to preserve the equal rights
      of others and the other functions of the University. Teaching, research, and
      other official functions of the University shall have priority in allocating the use
      of space on campus. Members of the public are able to engage in expressive
      activities only in common outdoor areas of the campus, subject to the time,
      place, and manner rules in this policy necessary to preserve the functions of the
      University.
   4. Except as expressly authorized by Section B or as identified in federal or state
      law, the University shall not discriminate on the basis of the political, religious,
      philosophical, ideological, or academic viewpoint expressed by any person, in
      the enforcement and administration of these rules or otherwise.
   5. The University of Texas at Dallas Police Department (UTDPD) may
      immediately enforce these rules if a violation of these rules constitutes a breach
      of the peace or compromises public safety.

Subsection 2: Scope of this Policy and Related Provisions

   1. This policy protects and regulates the speech, expression, and assembly of
      students, faculty, staff, and members of the public that are not part of the
      teaching, research, or other official functions of the University, not otherwise
      sponsored by the University or any academic or administrative unit, and not
      submitted for academic credit. Subsection 7 on Harassment applies to all
      speech regardless of where it occurs, including off University property, if it
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      potentially affects a University person’s education or employment with the
      University or potentially affects the University community.
   2. This policy applies to speech by University persons and University
      organizations in the common outdoor areas, the limited public forums, and
      speech made using the University’s information systems. This policy also
      applies to members of the public in common outdoor areas.
   3. Any program or event sponsored by an academic or administrative unit of the
      University will have priority in the use of space and facilities over any speech,
      expression, and assembly that is not sponsored by an academic or
      administrative unit. Reservation process and available space for academic or
      administrative units are different and separate from those outlined in this
      policy. This policy does not limit other existing authority of University officials
      to authorize programs and events sponsored by an academic or administrative
      unit not provided for in this policy.
   4. Additional rules concerning free speech and academic freedom of faculty
      members are found in the Regents’ Rules and Regulations (Rule 31004,
      Number 2, Sections 1 and 2).
   5. Underlying rules concerning free speech of students are found in the Regents’
      Rules and Regulations (Rule 40501, Rule 80103, and Rule 80104). This policy
      implements those provisions and applies them to UT Dallas.
   6. Rules requiring University employees to make clear that controversial
      statements they make are in their personal capacity are found in the Regents’
      Rules and Regulations (Rule 10101, Section 6.2). Rules restricting use of
      University equipment, supplies, services, and working hours for political
      activities are found in the Regents’ Rules and Regulations (Rule 30103).

Subsection 3: Definitions

   1. "Academic or administrative unit" means any office or department of the
      University.
   2. "Faculty member and staff member" includes any person who is employed by
      the University.
   3. "Off-Campus person or organization" and “member of the public” means any
      person, organization, or business that is not an academic or administrative unit;
      a registered student, faculty, or staff organization; or a student, faculty member
      or staff member.
   4. "University person or organization" includes academic and administrative
      units; registered student, faculty, and staff organizations; and individual
      students, faculty members, and staff members. This phrase describes the most
      inclusive category of potential speakers on campus; all persons and
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    organizations of any kind are either an "off-campus person or organization" or
    a "University person or organization."
5. "Registered student, faculty, or staff organization" includes a registered student
    organization (as defined in the UT Dallas Student Organization Manual,
    Chapter 2), a faculty or staff organization under the Regents’ Rules and
    Regulations (Rule 40201), and Student Government and any unit or subdivision
    thereof.
6. "Student" means a person who is enrolled at the University.
7. "Amplified sound" means sound with volume that is increased by any electric,
    electronic, mechanical, or motor-powered means. Shouting, group chanting,
    and acoustic musical instruments are not amplified sound and are not subject to
    the special rules on amplified sound, but are subject to general rules on
    disruption.
8. "Dean of Students" means the Dean of Students or any delegate or
    representative of the Dean of Students.
9. "Room or space" includes any room or space, indoors or outdoors, owned or
    controlled by the University.
10. "University" means The University of Texas at Dallas.
11. "day" means an 8:00 a.m. to 5:00 p.m. calendar day, and excludes weekends,
    University holidays, and days on which regularly scheduled classes are
    suspended due to emergency closure; “University holiday” means days
    identified in the holiday schedule published by the Office of Human Resources.
    If a deadline defined in this policy falls on a Saturday, Sunday, University
    holiday, or emergency closure, that deadline will be moved to the next business
    day.
12. "adviser" means a member of the university faculty or full-time staff who
    advises the members of an organization.
13. "Vice President for Student Affairs" means the Vice President for Student
    Affairs, their delegate, or their representative.
14. "University facility" means an auditorium, arena, residence hall, other building,
    room, public area, or any other area on the campus.
15. "University President" means the President of The University of Texas at
    Dallas, their delegate, or their representative.
16. “Limited public forum” means University property, both indoors and outdoors,
    that is not part of the common outdoor area. This includes the outside surfaces
    of a University building, surfaces associated with or connected to a University
    building, a University structure, spaces dedicated to temporary outdoor
    banners, spaces dedicated to temporary outdoor exhibits, residential outdoor
    spaces managed by University Housing (including the grounds around
    University Village), the Student Union Dining Hall Patio, the Student Union
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       east awning, Dining Hall West outdoor area, Davison Gundy Alumni Center
       green space, and the courtyards of all academic buildings.
   17. “Common outdoor area” means outdoor space that is not used solely for
       University business or an event, an educational function, or a research function
       on either a permanent or temporary basis. It does not include any space within
       the University’s limited public forum. Common outdoor areas are designated
       by state law as traditional public forums.
   18. "Temporary banner space" means designated outdoor or indoor display area
       reserved for use by University persons and University organizations, as
       managed by the Dean of Students, where a University person or organization's
       temporary banner may be affixed for multiple days as permitted by Subsection
       22. These areas are part of the University's limited public forum and not open
       to use by members of the public.
   19. “Temporary exhibit space” means designated outdoor or indoor display areas
       reserved for use by University persons and University organizations, as
       managed by the Dean of Students, where a University person or organization
       may erect a temporary exhibit as permitted by Section G. These areas are part
       of the University’s limited public forum and not open to use by members of the
       public.

Section B: Prohibited Expression

Subsection 4: Obscenity

No person or organization shall distribute or display on the campus any writing or
visual image, or engage in any public performance, that is obscene. A writing, image,
or performance is "obscene" if it is obscene as defined in Texas Penal Code,
Subsection 43.21 or successor provisions, and is within the constitutional definition of
obscenity as set forth in decisions of the United States Supreme Court.

Subsection 5: Defamation

   1. No person shall make, distribute, or display on the campus any statement that
      unlawfully defames any other person.
   2. A statement defames another person if it is: (i) published to a third party other
      than the subject of the statement or their legal representative; (ii) of and
      concerning that person; (iii) is a false statement of fact; (iv) that holds the
      person up to hatred, ridicule or contempt; (v) is made negligently, if the person
      is a private figure or, if the person is a public official or public figure, with
      knowledge of falsity or reckless disregard of the truth; (vi) which proximately
      causes damages; and (vii) is not privileged.
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Subsection 6: Incitement to Imminent Violations of Law

No person shall make, distribute, or display on the campus any statements directed to
inciting or producing imminent violations of law under circumstances such that the
statements are likely to actually and imminently incite or produce violations of law.

Subsection 7: Harassment

   1. No person will engage in conduct that constitutes harassment of another person
      or make, distribute, or display on the campus or through University information
      resources any statement that constitutes harassment of any other person. This
      Section applies to all speech regardless of where it occurs, including off
      University property, if it potentially affects a University person’s education or
      employment with the University or potentially affects the University
      community, all speech made using University resources, including speech that
      is part of teaching, research, or other official functions of the University
      whether in person or not, and whether oral, written, or symbolic.
   2. "Harassment" means hostile or threatening conduct or speech, whether oral,
      written, or symbolic, that:
          1. is not necessary to the expression of any idea described in Subsection 7.3
              of this policy;
          2. is sufficiently severe, pervasive, and objectively offensive to create an
              objectively hostile or threatening environment that interferes with or
              diminishes the victim’s ability to participate in or benefit from the
              services, activities, or privileges provided by the University; and
          3. personally describes or is personally directed to one or more specific
              individuals.
   3. To make an argument for or against the substance of any political, religious,
      philosophical, ideological, or academic idea is not harassment, even if some
      listeners are offended by the argument or idea. The categories of sexually
      harassing speech set forth in UTDBP3102 of the UT Dallas Handbook of
      Operating Procedures are rarely, if ever, necessary to argue for or against the
      substance of any political, religious, philosophical, ideological, or academic
      idea.
   4. Verbal harassment may consist of threats, insults, epithets, ridicule, personal
      attacks, or the categories of harassing sexual speech set forth in UTDBP3102
      and UTDBP3090 of the UT Dallas Handbook of Operating Procedures. Verbal
      harassment is often based on the victim’s appearance, personal characteristics,
      or group membership, including but not limited to race, color, religion, national
      origin, gender, age, disability, citizenship, veteran status, sexual orientation,
      gender identity or gender expression, ideology, political views, or political
      affiliation.
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5. Harassment can also consist of nonverbal conduct, such as hazing, practical
   jokes, damage to property, and physical assault. In the case of sexual
   harassment and sexual misconduct, sexual conduct is often central to the
   offense. These forms of harassment are prohibited by UTDSP5003 and
   UTDBP3102 of the UT Dallas Handbook of Operating Procedures, and by the
   Regents’ Rules and Regulations, Rule 30105. To the extent of any conflict in
   the definition of verbal harassment, the more detailed definition in this section
   controls.
6. The harassment that this section prohibits does not exhaust the category of
   speech that is unnecessary and inappropriate to vigorous debate in a diverse
   community of educated people. An essential part of higher education is to learn
   to separate substantive argument from personal offense and to express even the
   deepest disagreements within standards of civility that reflect mutual respect,
   understanding, and sensitivity among the diverse population within the
   University and in the larger society. These are community norms, even though
   they cannot be enforced by disciplinary rules.
7. Verbal harassment has been interpreted very narrowly by the federal courts.
   Policies on verbal harassment or hate speech at many universities have been
   held unconstitutional, either because they prohibited harassment only when it
   was based on race, sex, and similar categories, or because they failed to protect
   the expression of potentially offensive ideas. This policy should be interpreted
   as narrowly as need be to preserve its constitutionality.
8. Members of the University community are strongly encouraged to report
   harassment.
       1. A student who believes he or she has been harassed should report the
          alleged violation to the Dean of Students.
       2. A faculty member or staff member who believes he or she has been
          harassed should report the alleged violation to Human Resources.
       3. Alternatively, any person who believes he or she has been harassed may
          report the alleged violation to the Office of Institutional Compliance, or
          to any University official, administrator, or supervisor. A faculty
          member is not an “official, administrator, or supervisor” for this purpose
          unless that faculty member holds an administrative position.
       4. Any University official, administrator, or supervisor who receives a
          report of alleged harassment will promptly refer that report and the
          complaint to the Office of Institutional Compliance, Equity, and Title
          IX, Human Resources, or the Dean of Students as appropriate. A
          complainant whose report is not forwarded to the Office of Institutional
          Compliance, Human Resources or to the Dean of Students, has not
          initiated proceedings for providing a remedy to the complainant or for
          imposing discipline on the alleged harasser.
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        5. Investigation of the information provided, and any remedial or
           disciplinary proceedings, will advance under the procedures set out in
           the harassment policies cross-referenced in this section.

Subsection 8: Solicitation & Commercial Speech

  1. General rules.
        1. No University person, University organization, or member of the public
           shall make, distribute, or display on the campus any statement that offers
           or advertises any product or service for sale or lease, or requests any gift
           or contribution, except as authorized in this Subsection, by the Regents’
           Rules and Regulations, or by a contract.
        2. Words or symbols on personal apparel, or on decals or bumper stickers
           affixed to a vehicle by an owner of that vehicle, are not solicitation
           within this definition.
        3. Unadorned acknowledgments or thanks to donors are not solicitations
           within this definition.
  2. Rules Specific to UT Dallas campus constituents:
        1. A registered student, faculty, or staff organization may advertise or sell
           merchandise, publications, food, or nonalcoholic beverages, or request
           contributions, for the benefit of the organization, for the benefit of
           another registered student, faculty, or staff organization, or for the
           benefit of an organization that is tax-exempt under Subsection 501 (c)(3)
           of the Internal Revenue Code. No organization may sell items obtained
           on consignment. No organization may request contributions for an off-
           campus tax-exempt organization for more than fourteen days in any
           fiscal year.
        2. Registered student, faculty, and staff organizations, and academic and
           administrative units, may sell, distribute, or display literature that
           contains advertising, subject to the limits in Section D. Individual
           students, faculty members, and staff members may distribute or display
           such literature, but may not sell it.
        3. Individual students, faculty members, and staff members may post
           advertisements for roommates, subleases, and sales of used goods that
           the seller has personally owned and used, but only on a bulletin board
           designated for that purpose by an academic or administrative unit in
           space that the unit occupies or controls. Any unit that designates a
           bulletin board for this purpose may regulate that bulletin board under the
           procedures set forth by that unit.
        4. A resident of a University residence hall or apartment building may
           occasionally invite one or more salespersons to come to the resident's
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             room or apartment, and in that room or apartment, the salesperson may
             offer products or services for sale to other residents of that residence hall
             or apartment building.
          5. As per Regents’ Rules and Regulations (Rule 80103, 2.2.9), registered
             student, faculty, or staff organizations may collect admission fees for
             programs scheduled in advance.
          6. A registered student, faculty, or staff organization may sell charitable
             raffle tickets on behalf of an organization that is authorized to conduct a
             charitable raffle under the Texas Charitable Raffle Enabling Act, Texas
             Occupations Code (Policy 2002), or successor provisions.
   3. A registered student organization that receives funds from membership fees or
      solicitations under this Subsection shall deposit and account for such funds
      under the rules in the Student Organization Manual.
   4. More detailed regulation of solicitation appears in Regents’ Rules and
      Regulations (Rule 80103). The provisions most relevant to students, faculty,
      and staff have been incorporated in this policy.

Subsection 9: Prohibited Items or Actions

The following restrictions are intended to protect the health and safety of all persons
on campus, to maintain the free flow of pedestrian traffic in and out of University
buildings, and to protect the educational mission of the University:

   1. A mask, facial covering, or disguise that conceals the identity of the wearer that
      is calculated to obstruct the enforcement of these rules or the law, or to
      intimidate, hinder or interrupt a University official, UTDPD officer, or other
      person in the lawful performance of their duty.
   2. The possession, use, or display of firearms, facsimile firearms, ammunition,
      explosives, or other items that could be used as weapons, including but not
      limited to sticks, poles, clubs, swords, shields, or rigid signs that can be used as
      a shield, without permission from the Dean of Students, unless authorized by
      federal, State or local laws.
   3. Body-armor or makeshift body-armor, helmets and other garments, such as
      sporting protective gear, that alone or in combination could be reasonably
      construed as worn for participation in potentially violent activities.
   4. Open flame, unless approved in advance by UT Dallas Life Safety Manager or
      Dean of Students.
   5. No person or organization may engage in expressive activity within a ten-foot
      clearance around points of entry and the perimeter of all University buildings.

Section C: General Rules on Means of Expression
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Subsection 10: Disruption

   1. Except as expressly authorized in Subsection 36 or by an authorized University
      official responsible for a program or event sponsored by an academic or
      administrative unit, no speech, expression, or assembly may be conducted in a
      way that disrupts or interferes with any:
          1. teaching, research, administration, or other authorized activities on the
             campus;
          2. free and unimpeded flow of pedestrian and vehicular traffic on the
             campus; or
          3. signs, tables, exhibits, public assemblies, distribution of literature, guest
             speakers, or use of amplified sound by another person or organization
             acting under the rules in this policy.
   2. Scope.
          1. The term "disruption" and its variants, as used in this subsection, are
             distinct from and broader than the phrase "disruptive activities," as used
             in the Regents’ Rules and Regulations (Rule 40502). This rule is
             concerned not only with deliberate disruption but also with scheduling
             and coordination of events to manage or minimize the inevitable
             conflicts between legitimate events conducted in close proximity and to
             preserve the University’s ability to execute its functions.
          2. Except in the most extreme cases, interference and disruption are
             unavoidably contextual. Intentional physical interference with other
             persons is nearly always disruptive in any context. Interfering with
             traffic depends on the relation between the volume of traffic and the size
             of the passageway left open. Disruptive noise is the most contextual of
             all because it depends on the activity disrupted. Any distracting sound
             may disrupt a memorial service. Any sound sufficiently loud or
             persistent to make concentration difficult may disrupt a class or library.
             Occasional heckling in the speaker's pauses may not disrupt a political
             speech, but persistent heckling that prevents listeners from hearing the
             speaker does disrupt a political speech. These illustrations may be
             helpful, but none of them includes enough context to be taken as a rule.
             We cannot escape relying on the judgment and fairness of University
             authorities in particular cases. In this context where difficult enforcement
             judgments are unavoidable, it is especially important to remind
             administrators and law enforcement officials that their judgments should
             not be influenced by the viewpoint of those claiming disruption or of
             those allegedly disrupting.
   3. Potentially disruptive events can often proceed without disruption if
      participants, administrators, and law enforcement officials cooperate to avoid
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      disruption without stopping the event. In cases of marginal or unintentional
      disruption, administrators and law enforcement officials should clearly state
      what they consider disruptive and seek voluntary compliance before stopping
      the event or resorting to disciplinary charges or arrest.

Subsection 11: Damage to Property

   1. No speech, expression, or assembly may be conducted in a way that damages
      or defaces property of the University or of any person who has not authorized
      the speaker to damage or deface their property.
   2. No person may damage, deface, or interfere with any sign, table or exhibit
      posted or displayed by another person or organization acting under the rules in
      this policy.

Subsection 12: Coercing Attention

   1. No person may attempt to coerce, intimidate, or badger any other person into
      viewing, listening to, or accepting a copy of any communication.
   2. No person may persist in requesting or demanding the attention of any other
      person after that other person has attempted to walk away or has clearly refused
      to attend to the speaker's communication.

Subsection 13: Other Rules with Incidental Effects on Speech

   1. Other generally applicable or narrowly localized rules, written and unwritten,
      incidentally limit the time, place, and manner of speech, but are too numerous
      to compile or cross-reference here. For example, libraries typically have highly
      restrictive rules concerning noise; laboratories and rooms containing the
      electrical and mechanical infrastructure of the University typically have safety
      rules and rules excluding persons without specific business there; fire and
      safety codes prohibit the obstruction of exits and limit the constriction of
      hallways. Speech within classrooms is generally confined to the subject matter
      of the class; the right to attend a class at all is subject to registration and
      payment of tuition; individual professors may have rules of decorum in their
      classroom. These kinds of rules limit the right of students, faculty, and staff to
      enter and speak in the places to which these rules apply.
   2. Reasonable and nondiscriminatory rules of this kind generally control over the
      rights of free speech guaranteed in this policy. But even these kinds of rules are
      subject to the constitutional right of free speech. Such rules must be viewpoint
      neutral. Such rules cannot regulate speech more restrictively than they regulate
      other activities that cause the problems to be avoided by the rule. Such rules
      should not restrict speech more than is reasonably necessary to serve their
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      purpose. Such rules cannot ban unobtrusive forms of communication with no
      potential for disruption even in the specialized environment subject to the
      localized rule. Thus, for example, means of silent expression or protest
      confined to the speaker's immediate person, such as armbands, buttons, and t-
      shirts, are nearly always protected because they are rarely disruptive in any
      environment.
   3. University persons, University organizations, and members of the public are
      responsible for maintaining a passageway for pedestrians that is adequate to the
      volume of pedestrian traffic passing through the area. Should the size of the
      assembly exceed the maximum number of participants that is safe for a given
      location, participants will be directed by campus authorities to relocate to a
      space that is better suited to the size of the assembly.

Section D: Distribution of Literature

Subsection 14: General Rule on Distribution of Literature

   1. Registered student, faculty, and staff organizations, and academic and
      administrative units, may sell, distribute, or display literature on campus
      subject to the rules in this policy. Individual students, faculty members, and
      staff members may distribute or display literature but may not sell it. In either
      case, no advance permission is required. Members of the public may distribute
      literature in the common outdoor areas, subject to the rules in this policy, but
      may not sell literature.
   2. "Literature" means any printed material, including any newspaper, magazine,
      or other publication, and any leaflet, flyer, or other informational matter, that is
      produced in multiple copies for distribution to potential readers.

Subsection 15: Not-for-profit Literature Only

   1. Except as expressly authorized by the Regents’ Rules and Regulations or by
      contract with the University, no person or organization may sell, distribute, or
      display on campus any publication operated for profit. A registered student,
      faculty, or staff organization may sell publications operated for profit as part of
      a fundraiser authorized by, and subject to the limits of Subsection 8.
   2. A publication is operated for profit if any part of the net earnings of the
      publication, or if its distribution, inures to the benefit of any private shareholder
      or individual.

Subsection 16: Limits on Advertising

   1. Literature distributed on campus may contain the following advertising:
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         1. advertising for a registered student, faculty, or staff organization, or an
             academic or administrative unit;
         2. advertising for an organization that is tax-exempt under Subsection 501
             (c)(3) of the Internal Revenue Code;
         3. paid advertising in a publication primarily devoted to promoting the
             views of a not-for-profit organization or to other bona fide editorial
             content distinct from the paid advertising; and
         4. other advertising expressly authorized by the Regents’ Rules and
             Regulations by contract with the University.
   2. All other advertising in literature distributed on campus is prohibited.

Subsection 17: Cleanup of Abandoned Literature

Any person or organization distributing literature on campus shall pick up all copies
dropped on the ground in the area where the literature was distributed.

Section E: Signs and Banners

Subsection 18: General Rules on Signs

   1. "Sign" means any method of displaying a visual message to others, except that
      transferring possession of a copy of the message is distribution of literature and
      not a sign.
   2. Subject to the rules in this section and to the general rules in Sections B and C,
      a University person or organization may display a sign by holding or carrying
      it, by displaying it at a table (see Section F), or by posting it on a bulletin board
      or other designated location. Signs may not be staked to the ground or posted in
      any other location except those areas allowed by long-standing tradition or
      otherwise permitted by this policy.

Subsection 19: Hand-held Signs

   1. Students, faculty, and staff may display a sign on campus by holding or
      carrying it by hand or otherwise attaching it to their person. Members of the
      public may display a sign in the common outdoor areas by holding or carrying
      it by hand or otherwise attaching it to their person. No advance permission is
      required. Signs on sticks or poles or otherwise attached to any device are
      prohibited.
   2. Hand-held signs constructed of materials that create a hazard to other people
      are not permitted. Signs constructed of rigid materials, including sticks, poles,
      wood, metal, hard plastic, or other materials that could be construed as a hazard
      are not permitted.
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   3. Any person holding or carrying a sign shall exercise due care to avoid
      bumping, hitting, or injuring any other person.
   4. Any person holding or carrying a sign at a speech, performance, or other event
      shall exercise due care to avoid blocking the view of any other person
      observing the speech, performance, or event. Depending on the venue, this may
      mean that signs may be displayed only around the perimeter of a room or an
      audience.
   5. A law enforcement officer, the Dean of Students, or an usher or any other
      university employee if authorized by officials responsible for managing the
      venue, may warn any person that their sign is being handled in violation of this
      section. If the violation persists after a clear warning, the law enforcement
      officer, dean, authorized usher, or other authorized employee may confiscate
      the sign or take other appropriate steps to respond to the violation. A law
      enforcement officer may take any action necessary to keep the peace including
      but not limited to issuing a criminal trespass warning to the violator.

Subsection 20: Signs in Other Designated Locations (including on bulletin
boards)

   1. Each academic or administrative unit may authorize the posting of signs in
      spaces that a unit occupies and controls. Such authorization may be granted by
      general rule, by stamping or initialing individual signs, or by long-standing
      tradition.
   2. Signs in spaces occupied by academic or administrative units may be:
          1. confined to bulletin boards or other designated locations;
          2. subjected to viewpoint-neutral rules limiting the size of signs, limiting
              how long they may be posted, requiring each sign to show the date it was
              posted and the name of the person or organization who posted it, and
              similar rules designed to facilitate fair and equal opportunities to post
              signs;
          3. confined to official statements or business of the unit, or to certain
              subject matters of interest within the unit, or to signs posted by persons
              or organizations affiliated with the unit.
   3. Each academic or administrative unit will post on or near each bulletin board or
      other designated location that it administers:
          1. either the rules applicable to that bulletin board or location or a particular
              office or website where the rules applicable to that bulletin board or
              location may be found; and
          2. if a stamp or initials are required on signs before they are posted on that
              bulletin board or location, the name and office location of the person
              whose stamp or initials are required.
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          3. This notice will be posted in the upper left corner of each bulletin board
             or other designated location for posting signs, or conspicuously in
             another nearby location. If no such notice is posted, then the only
             applicable rules are those contained in Section B and Subsections 10, 11,
             and 14.
   4. Within the scope of the subject matters permitted on a particular bulletin board
      or other designated location, no academic or administrative unit will
      discriminate on the basis of the political, religious, philosophical, ideological,
      or academic viewpoint expressed on a sign.
   5. This Section does not apply to any enclosed bulletin board or display case that
      is accessible only to authorized personnel for official University business.

Subsection 21: Banners

"Banner" means an affixed, stationary sign hung from a structure or building, or
between two buildings, structures, or poles. Banners on poles may not be carried by
individuals.

   1. Hand-held banners. University persons, University organizations, and members
      of the public are permitted to display a hand-held banner carried by two or
      more individuals without poles, in accordance with Subsection 20, in the
      common outdoor areas.
   2. Temporary banner space designations.
          1. The Dean of Students shall designate places where banners may be hung
             in indoor and outdoor locations not occupied or controlled by any other
             academic or administrative unit. Temporary banner spaces are not open
             to the public.
          2. Other academic and administrative units may designate one or more
             temporary banner spaces where banners may be hung in indoor or
             outdoor locations that the unit occupies or controls. These temporary
             banner spaces are not open to members of the public.
   3. Academic and administrative units and registered student, faculty, and staff
      organizations may hang banners in locations designated under Subsection 22,
      2(2). Individuals and members of the public may not hang banners.
   4. Advance permission is required for the hanging of banners. Each banner may
      be hung for one week. The banner may be renewed from week to week if space
      is available, but usually, other organizations are waiting their turn and renewal
      is not possible.
   5. The Dean of Students may require that the physical work of hanging the
      banners be performed only by employees of Facilities Management or other
      appropriate University personnel. Actual costs will be charged to the
      organization or unit making the request.
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Section F: Tables

Subsection 22: General Rule on Tables

University persons and University organizations may set up tables from which to
display literature, disseminate information and opinions, and raise funds, subject to
the rules in this section and to the general rules in Sections B and C. No advance
permission is required. Members of the public may also set up tables in common
outdoor areas.

Subsection 23: Locations

   1. Subject to the restrictions in this section and subject to the rules on disruption
      of other functions and interference with vehicular and pedestrian traffic,
      University persons and University organizations may set up tables in any
      outdoor location on the campus and in any large, open, indoor location.
   2. Additional Restrictions.
          1. Tables may not be set up inside any library, classroom, laboratory,
             performance hall, stadium, or office, or in any hallway less than ten feet
             wide, without permission from the academic or administrative unit that
             controls the space, or from the faculty member or staff member who
             controls the space at a particular time.
          2. An academic or administrative unit may further specify these rules by
             restricting tables to reasonable locations in spaces occupied by that unit.
             Academic and administrative units are encouraged to clearly state any
             such rules in writing and to publish those rules on a website or on a flyer
             or pamphlet available at the chief administrative office of the unit.
   3. If any table is set up in a prohibited or disruptive location, any University
      employee pointing out the violation shall also point out other locations, as
      nearby as is reasonably possible, where the table is permitted.

Subsection 24: Identification

Each table must have a sign or literature that identifies the University person or
University organization sponsoring the table.

Subsection 25: Clean-up Around Tables

Any person or organization sponsoring a table shall remove litter from the area around
the table before vacating the space.

Subsection 26: Sources of Tables
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University persons and University organizations may supply their own tables. In
addition, the Dean of Students maintains a supply of tables for registered student
organizations that may be reserved and checked out for use in the Student Union
Building and on-campus in designated areas.

Section G: General Exhibits and A-frame Exhibits

Subsection 27: General Rules on Exhibits

   1. "General Exhibit" means an object or collection of related objects, designed to
      stand on the ground or on a raised surface, that is not a table, and that is
      designed for temporary display not permanently attached to the ground.
   2. “A-Frame Exhibit” means a movable and self-supported signboard designed to
      stand on the ground in a temporary outdoor exhibit space. A-frame exhibits
      may not exceed five feet in height or width. Structures that do not meet these
      criteria will be considered general exhibits and will be subject to the rules in
      Subsection 31.1.
   3. Academic or administrative units and registered student organizations, faculty
      organizations or staff organizations may erect exhibits, subject to the rules in
      this section and to the general rules in Sections B and C. Advance permission is
      required from the Dean of Students, except that an academic unit may authorize
      indoor exhibits in a space that it occupies and controls. Members of the public
      may not erect exhibits.
   4. The Dean of Students will maintain on a website, a current description of the
      rules and procedures for displaying a temporary outdoor exhibit space for A-
      frame exhibits on campus.

Subsection 28: Application Process

An academic or administrative unit or a registered student, sponsored student, faculty,
or staff organization desiring to display an outdoor general exhibit will apply on a
form prescribed by the Dean of Students. An academic or administrative unit or a
registered student, sponsored student, faculty, or staff organization desiring to display
an outdoor A-frame exhibit must follow guidelines outlined on the Dean of Students
‘General Exhibits and A-frame Exhibits’ website.

Subsection 29: Criteria for Approval

   1. General exhibits.
        1. The Dean of Students will designate temporary outdoor exhibit spaces
            where general exhibits may be placed. The Dean of Students will
            authorize a general exhibit described in a completed application under
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            Subsection 29 unless the Dean of Students finds that use of the proposed
            temporary outdoor exhibit space for the proposed exhibit must be
            disapproved under the criteria in UTDSP5002. The Dean of Students
            will advise the applicant on how to correct, if possible, any conditions
            that preclude approval of the application.
         2. The Dean of Students will consider the totality of the circumstances,
            including safety concerns, as part of the approval process.
   2. A-frame exhibits.
         1. The Dean of Students will designate temporary outdoor exhibit spaces
            where A-frame exhibits may be placed. If an academic or administrative
            unit or a registered student, faculty, or staff organization wishes to place
            an A-frame exhibit in a different location, then the structure will be
            considered a general exhibit under this Subsection. The Dean of Students
            may limit the number of A-frame exhibits that are placed in designated
            areas to minimize visual obstructions of the A-frames.

Subsection 30: Time Limits

   1. General exhibits.
         1. In locations administered by the Dean of Students, each exhibit may be
            displayed for seven days. The exhibit may be renewed for an additional
            seven days if space is available.
         2. The exhibit may be displayed no earlier than 8:00 a.m. and must be
            removed by 10:00 p.m. each day and may be re-erected each morning.
            However, the Dean of Students may authorize overnight exhibits in
            designated locations on a case-by-case basis.
   2. A-frame exhibits.
         1. Each A-frame exhibit may be placed for seven days and remain
            overnight. The A-frame exhibit may be renewed for an additional seven
            days if space is available.
         2. If the A-frame is left on campus for longer than the reservation, the A-
            frame may be removed by the Department of Facilities Management, at
            the expense of the academic or administrative unit or registered student,
            faculty, or staff organization.

Subsection 31: Clean-up Around and Upkeep of Exhibits

Any person or organization sponsoring an exhibit shall remove litter from the area
around the exhibit before vacating the space. A-frame exhibits are expected to be
maintained in a manner that they are in working order and with material that is not out
of date.
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Subsection 32: Liability

Any person or organization sponsoring an exhibit assumes full responsibility for the
exhibit, including all injuries or hazards that may arise from the exhibit. The
University shall not be liable for any damage that may occur to the exhibit, and any
person or organization sponsoring the exhibit shall indemnify the University for any
claims arising from the exhibit's presence on campus.

Section H: Amplified Sound

Subsection 33: General Rules on Amplified Sound

University persons, University organizations, and members of the public may use
amplified sound on campus at designated times and locations, subject to the rules in
this section and to the general rules in Sections B and C. This section creates limited
exceptions to the general rule on disruption in Section C.

Subsection 34: Location and Times of Amplified Sound Areas

   1. Student Union Mall
         1. The Margaret McDermott Student Union Mall Amplified Sound Area is
            bounded by the Student Union Building on the west side and extends to
            the stone wall between the Student Union and the McDermott Library on
            the east side. The north boundary is marked by the north end of the mall
            pavers and the south boundary is the end of the pavement on the south
            side of the outdoor Chess Plaza.
         2. With appropriate approval, University persons, University organizations,
            and members of the public may use amplified sound in this area from
            8:00 a.m. to 5:00 p.m. Monday through Friday, and 8:00 a.m. to 5 p.m.
            on Saturdays and Sundays.
         3. All academic and administrative units, as well as, registered and
            sponsored student organizations, and faculty and staff organizations may
            use sound equipment owned or controlled by the dean of students’ office
            for this sound area.
         4. Members of the public must use their own sound equipment. This sound
            area requires a reduced decibel level as compared to other sound areas to
            ensure educational activity in close proximity is not disturbed.
   2. The PUB Patio
         1. The PUB Patio Amplified Sound Area is bounded by the railed fence on
            the north end of the Patio and to the east, west, and south by the existing
            surrounding walls of the Union building.
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         2. With appropriate approval, University persons, University organizations,
             and members of the public may use amplified sound in this area from
             8:00 a.m. to 5:00 p.m. Monday through Friday, and 8:00 a.m. to 5 p.m.
             on Saturdays and Sundays.
         3. All academic and administrative units, as well as, registered and
             sponsored student organizations, and faculty and staff organizations may
             use sound equipment owned or controlled by the dean of students’ office
             for this sound area.
         4. Members of the public must use their own sound equipment. This sound
             area requires a reduced decibel level as compared to other sound areas to
             ensure educational activity in close proximity is not disturbed.
  3. Student Union Green Space
         1. The Student Union Green Space is bounded by the edges of the grass on
             the north, south, east, and west sides.
         2. With appropriate approval, University persons, University organizations,
             and members of the public may use amplified sound in this area from
             8:00 a.m. to 5:00 p.m. Monday through Friday, and 8:00 a.m. to 5 p.m.
             on Saturdays and Sundays.
         3. All academic and administrative units, as well as, registered and
             sponsored student organizations, and faculty and staff organizations may
             use sound equipment owned or controlled by the dean of students’ office
             for this sound area.
         4. Members of the public must use their own sound equipment. This sound
             area requires a reduced decibel level as compared to other sound areas to
             ensure educational activity in close proximity is not disturbed.
  4. With advance permission from the director of the Student Union, University
     persons and University organizations may be authorized to use amplified sound
     in the amplified sound areas after 5:00 p.m. weekdays and Saturdays and
     Sundays, not to exceed 1:00 a.m. the next day. The Student Union Director will
     decide what a reasonable start/end time should be, based on information
     relating to other campus events and classroom activities occurring on the day of
     the request. University groups using Student Union amplified sound equipment
     will yield equipment when the facility closes.
  5. The Vice President for Student Affairs may designate additional areas for use
     of amplified sound.
  6. If the director of the Student Union concludes that it is unworkable to use
     amplified sound in more than one of the amplified sound areas at the same
     time, the director may deny requests to use amplified sound.

Subsection 35: Regulation and Scheduling of Amplified Sound
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1. The director of the Student Union may prescribe rules concerning scheduling,
   sound levels, the location of speakers and direction in which they are pointed,
   and other rules to facilitate the use of amplified sound areas, to mediate any
   conflict with University functions and other nearby activities, and to manage
   environmental impact. All such rules shall be reasonable and
   nondiscriminatory.
2. Reservations.
      1. University persons, University organizations, and members of the public
          wishing to use an amplified sound area may reserve a particular area at a
          particular time. Reservations by University persons and University
          organizations must be made with the director of the Student Union
          through the online request form located on the Student Union website.
          Members of the public may make a reservation by
          emailing reservations@utdallas.edu. If space is available, the director of
          the Student Union shall approve a properly completed request, unless the
          application must be disapproved under the criteria in UTDSP5002 or
          under rules promulgated by the director under the authority of this
          section.
      2. The director of the Student Union shall advise each applicant on how to
          correct, if possible, any conditions that preclude approval of its
          application. The director of the Student Union may give advice to
          applicants of approved applications about other possible locations for an
          event, or about modifications to the proposed event, that would avoid
          potential problems or make the proposed event more workable.
      3. The director of the Student Union may limit the number or frequency of
          reservations for each applicant to ensure reasonable access for all
          persons and organizations desiring to use amplified sound.
3. When amplified sound areas are not reserved for use for an assembly including
   amplified sound, they are available for use, for permitted expressive activity,
   without reservation as part of the common outdoor areas. Any person or
   organization using or occupying the space without a reservation must yield
   control of the space in time to permit any user with a reservation to begin using
   the space promptly at the beginning of its reserved time. Equipment will not be
   provided to University persons and University organizations who do not have a
   prior reservation. With or without a reservation, members of the public must
   use their own equipment and comply with decibel level requirements.
4. Persons and organizations using amplified sound are responsible for
   maintaining a passageway for pedestrians that is adequate to the volume of
   pedestrian traffic passing through the area.
5. Any designations of additional areas, any additional rules regulating the
   designated areas, and the rules and procedures for reserving the right to use a
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      designated area, shall be clearly stated on a website maintained by the director
      of the Student Union.

Subsection 36: Amplified Sound Indoors

University persons and University organizations may use amplified sound indoors.
Amplified sound sufficient to be heard throughout the room may be used in any room
in any building, but the director of the Student Union may limit or prohibit sound that
would be disruptive outside the room. Reservations may be required. Rules
concerning use of University buildings are contained in UTDSP5002.

Section I: Public Assemblies

Subsection 37: General Rules on Public Assemblies

   1. "Publicly assemble" and "public assembly" include any gatherings of persons,
      including discussions, rallies, and demonstrations. The rules of Section H apply
      to any use of amplified sound at a public assembly.
   2. Persons and organizations may publicly assemble on campus in any place
      where, at the time of the assembly, the persons assembling are permitted to be.
      This right to assemble is subject to the rules in this policy, and to the rules on
      use of University property in UTDSP5002. No advance permission is required
      in the common outdoor areas.

Subsection 38: Reservation of Space

   1. Common outdoor areas reservations.
         1. University persons, University organizations, and members of the public
            may reserve a space to assemble in the common outdoor areas, as
            defined by this policy. This is in addition to the amplified sound areas
            which are also available for reservation.
         2. Reservations by University persons and University organizations must
            be made with the director of the Student Union through the online
            request form on the Student Union website. Members of the public may
            reserve space by making a request to reservations@utdallas.edu.
            Applications and requests for a reservation for such assemblies will be
            approved pursuant to UTDSP5002.
         3. If the expected attendance at an assembly is twenty-five or more people,
            advance notice of no less than three days is recommended. Persons and
            organizations are encouraged to seek reservation of a space that is suited
            to their assembly’s anticipated size.
   2. Limited public forum areas reservations.
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          1. Registered student, faculty, or staff organizations and academic or
              administrative units may reserve a space to assemble in the limited
              public forum areas, as defined by this policy.
          2. The director of the Student Union or other campus units, depending on
              the space, will receive applications for reservations of a space within the
              limited public forum areas. Applications for a reservation for such
              assemblies will be processed under the provisions in UTDSP5002.
          3. If the expected attendance at an event with a guest speaker is twenty-five
              or more people, advance notice of no less than three days is required.
   3. An organization with a reservation has the right to the reserved room or space
      for the time covered by the reservation. Any person or organization using or
      occupying the room or space without a reservation must yield control of the
      room or space in time to permit any organization with a reservation to begin
      using the room or space promptly at the beginning of its reserved time.
   4. While reservations are not required, they are strongly encouraged. A person or
      organization planning to use a room or space without a reservation may find the
      facility locked or in use by another person or organization.
   5. Should the size of any assembly exceed the maximum number of participants
      that is safe for a given location, including a reserved space, assembly
      participants will be directed by campus authorities to relocate to a space that is
      better suited to the size of the assembly to the extent relocation is practicable.

Subsection 39: Notice and Consultation

   1. Persons or organizations may publicly assemble on campus in any place where,
      at the time of the assembly, the persons assembling are permitted to be.
   2. Persons or organizations that are planning a public assembly in a common
      outdoor area, with or without a guest speaker, and with more than fifty
      expected participants, including potential counter-demonstrators, are strongly
      encouraged to provide advanced notice of no less than one week to the director
      of the Student Union to help the University improve the safety and success of
      the expressive activity. Members of the public may provide this notice by
      emailing reservations@utdallas.edu. If there is uncertainty about applicable
      University rules, the appropriateness of the planned location, or possible
      conflict with other events, persons and organizations are encouraged to consult
      the Dean of Students and director of the Student Union. Should the size of the
      assembly exceed the maximum number of participants that is safe for a given
      location, participants will be directed by campus authorities to relocate to a
      space that is better suited to the size of the assembly to the extent relocation is
      practicable.
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   3. University organizations planning an event in the limited public forum areas
      with or without a guest speaker and expected attendance of more than twenty-
      five participants are required to provide advanced notice of no less than three
      days to the Dean of Students, per the regulations outlined in the Student
      Organization Manual, to improve the safety and success of the expressive
      activity. University persons and University organizations are encouraged to
      consult with the Dean of Students and director of the Student Union if there is
      uncertainty about applicable University rules, the appropriateness of the
      planned location, or possible conflict with other events. The dean has much
      experience in helping student organizations structure events in ways that both
      comply with the University's rules and achieve the organization's goals for the
      event. The dean can help identify appropriate space and potentially conflicting
      events. The dean can help the planners avoid unintended disruption or other
      violations that may result in subsequent discipline or subsequent interference
      with the assembly by campus authorities.
   4. The notice and consultation requirements of this section do not apply to
      academic or administrative units.
   5. University organizations notice and consultation requirements of this section
      may be waived by the Dean of Students.
   6. Registered student, faculty, and staff organizations are afforded privileges not
      available to individual faculty, staff, and students. Individuals may not reserve
      indoor space on campus.

Section J: Guest Speakers

Subsection 40: Definitions

"Guest speaker" means a speaker or performer who is not a student, faculty member,
or staff member.

Subsection 41: Who May Present

   1. Subject to the rules in this policy, University persons, University organizations,
      and members of the public may present guest speakers in common outdoor
      areas.
   2. Registered student, faculty, and staff organizations and academic and
      administrative units may present guest speakers in the limited public forums of
      the campus. In the case of registered student organizations and sponsored
      student organizations, advance permission from the Dean of Students, as
      outlined in the Student Organization Handbook is required. Registered faculty
      organizations are required to seek advance permission from the Vice President
      for Academic Affairs and Provost. Registered staff organizations are required
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      to seek advance permission from the Vice President and Chief of Staff.
      Individuals may not present a guest speaker in University buildings or
      University facilities.

Subsection 42: Location and Form of Presentation

   1. Subject to the rules in this policy, including the applicable time, place, and
      manner rules, University persons, University organizations, and members of the
      public may utilize the common outdoor areas for guest speaker assemblies. No
      reservation or prior approval is necessary, but notice and reservations are
      encouraged.
   2. A guest speaker may present a speech or performance, or lead a discussion, at a
      time announced in advance, in a limited public forum following guidelines and
      reservation requirements set forth in this policy.
         1. A guest speaker may distribute literature indoors only immediately
             before, during, or after the normal course of their speech, performance,
             or discussion to persons in attendance. Only literature that complies with
             Section D of this policy may be distributed.
   3. A guest speaker may not:
         1. accost potential listeners who have not chosen to attend the speech,
             performance, or discussion; or
         2. distribute literature to persons who have not chosen to attend the speech,
             performance, or discussion; or
         3. help staff a table or exhibit unless it is set up in a common outdoor area.

Subsection 43 Application

   1. A registered student organization that has received approval of the dean to host
      a guest speaker in a limited public forum area must complete the reservation of
      space form on the Student Union website.
   2. The dean shall approve an application properly made under Section I of this
      policy unless it must be disapproved under the criteria in UTDSP5002.

Subsection 44: Obligations of Presenting Organization

A student, faculty or staff organization that presents a guest speaker must make clear
that:

   1. the organization, and not the University, invited the speaker; and
   2. the views expressed by the speaker are their own and do not necessarily
      represent the views of the University, the University of Texas System, or any
      component institution.
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Section K: Responding to Speech, Expression, and Assembly

Subsection 46: General Rule on Responding

Persons and organizations may respond to the speech, expression, or assembly of
others, subject to all the rules in this policy.

Subsection 47: Applications

   1. Responders may not damage or deface signs or exhibits, disrupt public
      assemblies, block the view of participants, or prevent speakers from being
      heard.
   2. Means of response that are permitted in many locations and without advance
      permission or reservation, such as signs, distribution of literature, and public
      assembly without amplified sound, may be used immediately and in any
      location authorized in this policy.
   3. Means of response that require advance permission or reservation, such as
      banners, general exhibits, A-frame exhibits, and amplified sound, may be used
      as soon as the needed permission or reservation may be arranged. Banner space
      and some amplified sound areas may be unavailable on short notice because of
      earlier reservations, but the Dean of Students shall expedite approval of general
      exhibits, A-frame exhibits, available banner space, and amplified sound areas
      where necessary to permit appropriate response to other speech, assembly, or
      expression.
   4. Means of response that are confined to authorized locations, such as banners,
      exhibits, and amplified sound, may be used only in those locations. It is not
      possible to respond to amplified sound with amplified sound in the same
      location; similarly, if an exhibit or public assembly is in a location where
      amplified sound is not permitted, it is not possible to respond with amplified
      sound in that location. In either case, it is possible to respond with amplified
      sound in another location and to use signs or distribution of literature to
      advertise the response at the other location.

Section L: Enforcement and Appeals

Subsection 48: Police Protection

   1. It is the responsibility of the University to make its best effort to protect the
      safety of all persons on campus and to provide police protection for speakers,
      public assemblies, persons staffing or viewing exhibits, and other events. The
      normal patrolling of officers in regular duty areas that fall in the area of such
      events will be at the cost of the University. When the magnitude, timing, or
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      nature of an event in a University building, University facility, or other areas of
      the University’s limited public forum requires overtime hours from police
      officers (including contract hours for officers hired from other departments or
      private security agencies), the University will, to the extent specified in
      paragraphs 2 and 3 below, charge the cost of overtime or contract officers to
      the person or organization sponsoring the event or exhibit. The purpose is to
      charge for police overtime when reasonably necessary, but not to charge for
      police overtime made necessary by the content of speech at the event or by the
      controversy associated with any event.
   2. A reasonable and nondiscriminatory fee for overtime police work will be
      charged to the registered student, faculty, or staff organization for events in a
      University building, University facility, or other areas of the University’s
      limited public forum for events that require overtime police protection, and
          1. charge a price for admission, or
          2. have a paid speaker, band, or other off-campus person or organization
             for services at the event.
   3. The University shall have the sole power to decide, after reasonable
      consultation with the person or organization planning the event, whether and to
      what extent overtime police protection is required. No additional fee shall be
      charged for officers assigned because of political, religious, philosophical,
      ideological, or academic controversy anticipated or actually experienced at the
      event. All fees shall be based on the number of officers required for an
      uncontroversial event of the same size and kind, in the same place and at the
      same time of day, handling the same amount of cash.
   4. Nothing in this Subsection applies to any interdepartmental charge or transfer
      among units or accounts funded by the University.

Subsection 49: Response to Violations

   1. Students wishing to make a grievance regarding a violation of Texas Education
      Code § 51.9315 may report it via the University Compliance and Ethics hotline
      by calling 1-888-228-7707.
   2. A student or registered/sponsored student organization who violates a
      prohibition in this policy may be disciplined under the procedures in
      UTDSP5003.
   3. A faculty member who violates a prohibition in this policy may be disciplined
      under applicable procedures provided by other rules. If no such procedures
      exist, violations by faculty members shall be referred to the Office of the Vice
      President for Academic Affairs and Provost.
   4. A staff member who violates a prohibition in this policy may be disciplined
      under applicable procedures provided by other rules. If no such procedures
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     exist, violations by staff members shall be referred to the staff member's
     supervisor.
  5. Authorized University personnel may prevent imminently threatened
     violations, or end ongoing violations, of a prohibition in this policy, by
     explanation and by persuasion, by reasonable physical intervention, by arrest of
     violators, or by any other lawful measures. Alternatively, or additionally, they
     may initiate disciplinary proceedings under paragraphs 2, 3, or 4 of this
     subsection. Discretion regarding the means and necessity of enforcement shall
     be vested in the Chief of Police, or in University personnel designated by the
     President, as appropriate, but such discretion shall be exercised without regard
     to the viewpoint of any speaker.
  6. A University person or University organization on the campus shall comply
     with instructions from University administrators and law enforcement officials
     at the scene. A University person or University organization that complies with
     an on-the-scene order limiting speech, expression, or assembly may test the
     propriety of that order in an appeal under Subsection 50.
  7. Off-campus person(s) or organization(s) on the campus who violate a
     prohibition in this policy may be subject to criminal trespass charges, arrest, or
     other lawful measures.

Subsection 50: Appeals

  1. A University person or University organization that is denied permission for an
     activity requiring advance permission under this policy may appeal the denial
     of permission.
  2. A University person or University organization that complies with an on-the-
     scene order limiting speech, expression, or assembly may, on or before the fifth
     weekday after complying with the order, file an appeal to determine the
     propriety of the order limiting the speech, expression, or assembly. The
     question on appeal shall be whether, under the circumstances as they
     reasonably appeared at the time of the order, the appellant's speech, expression,
     or assembly should have been permitted to continue. Such an appeal may be
     useful to clarify the meaning of a rule, or to resolve a factual dispute that may
     recur if the appellant desires to resume the speech, expression, or assembly that
     was limited by the order.
  3. An appeal authorized by this Subsection shall be heard under the procedures set
     out in UTDSP5002.
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                                EXHIBIT C
       Notice issued by Dean of Students to SJP-UTD Leaders on May 1, 2024
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